Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 1 of 56




        Exhibit A
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 2 of 56




                   IN TH UNITED STATES DISTRICT COURT
                      NO THERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


TIMOTHY L. KING,
      Plaintiff,
                                               CIVIL ACTION FILING NO.:
                      v.
TRUIST BANK,                                   l :23-CV-00095-JCF
      Defendant.




                           ECLARATION OF LISA YOUNG

      Lisa Young decl res as follows pursuant to 28 U.S.C. § 1746:

      1.        My name •s Lisa Young. I am not a minor. I am under no legal

disability. I am fully c mpetent to make this Declaration, and I give it based on my

own personal knowled e, which is based solely on my own review of records

maintained in the ordin ry course of business by Truist Bank ("Truist").

      2.        I am a Clie t Resolution Specialist for Truist. I have worked for Truist

for 34 years.

      3.        Through    y employment with Truist, I am familiar with the books and

records of Truist. I am uthorized to make this Declaration. I hereby certify that:

                   a. I am qualified to review the records described herein for Truist;
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 3 of 56




               b. The ruist records I reviewed in preparing this Declaration and

                    that re attached to this Declaration are true and correct copies of

                    Trui t's and/or its affiliated or predecessor entities' original

                    reco ds that were made at or near the time of the occurrence of

                    the   atters set forth by, or from the information transmitted by,

                    a pe son with knowledge of these matters, a computer, or other

                    simi ar digital means;

               c. The ruistrecords were kept in the course of regularly conducted

                    busi ess activity by Truist and/or its affiliated or predecessor

                    entit es;

               d.                normal practice of Truist and/or its affiliated or

                    pred cessor entities' regularly conducted business activities to

                    mak or keep these records in its business files; and

               e. The Truist records were made and kept by the regularly

                    con ucted business activity as a regular practice by Truist and/or

                    its a filiated or predecessor entities.

      4.    I have per onal1y examined Truist' s business records related to the

home equity line of ere it account ending in -5998, which was opened by Plaintiff

Timothy L. King on Oc ober 28, 2021 ("Account").

                                             2
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 4 of 56




      5.     Plaintiff s gned' the Truist Equity Line Account Agreement and

Disclosure Statement n October 28, 2021 ("Account Agreement"). A true and

accurate copy of the A count Agreement, with appropriate redactions for privacy

concerns, is attached as Exhibit 1.

      6.     The Acco nt statement dated January 30, 2022 reflects a minimum

payment of$1,l 53.22 d eon the Account on February 25, 2022. A true and accurate

copy of the January 30, 2022 Account statement, with appropriate redactions for

privacy concerns, is att ched as Exhibit 2.

      7.     An interi   Account statement dated February 21, 2022 shows that a

payment of $1,600 was made on the Account on February 3, 2022. The February

21 interim Account stat mentdoes not reflect any late fees assessed on the Account.

A true and accurate cop of the February 21, 2022 interim Account statement, with

appropriate redactions   r privacy concerns, is attached as Exhibit 3.

      8.     The Febru ry 3, 2022 payment of $1,600 satisfied the amount due on

the Account for Februa y 25, 2022.

      9.     The Acco nt statement dated February 28, 2022 shows a minimum

payment of $676.96 du on March 25, 2022. The February 28 Account statement

does not reflect any lat fees assessed on the Account. A true and accurate copy of




                                         3
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 5 of 56




the February 28, 2022    ccount statement, with appropriate redactions for privacy

concerns, is attached as Exhibit 4.

      10.    The Acco nt statement dated March 31, 2022 shows that no payment

was made on the Acco nt in March 2022. The March 31 Account statement does

not reflect any late fees assessed on the Account. The March 31 Account statement

also shows that the Ac ount was due for $1,353.92 on April 25, 2022. A true and

accurate copy of the Ma ch 31, 2022 Account statement, with appropriate redactions

for privacy concerns, is attached as Exhibit 5.

      11.    Plaintiffs 1,600 payment on February 3, 2022 was not sufficient to

satisfy the amounts due for both February 25, 2022 ($1,153.22) and March 25, 2022

($676.96), which totale $1,830.18.

      12.    On April    6, 2022, Truist sent Plaintiff a letter stating it had not

received the required p ymertt for March 25, 2022 and that he owed $1,353.92 on

the Account. A true a d accurate copy of the April 26, 2022 letter is attached as

Exhibit 6.

      13.    The Acco nt statement dated April 30, 2022 reflects that a $930

payment was made on pril 28, 2022. The April 30 statement shows that a payment

of$1,134.72 was due o May 25, 2022. It also shows that a late fee of$33.84 was

assessed on April 4, 20 2. A true and accurate copy of the April 30, 2022 Account

                                          4
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 6 of 56




statement, with approp iate redactions for privacy concerns, is attached as Exhibit

7.

      14.    The $930 payment was made after the payment deadlines for both

March and April, and i was not enough to cover the minimum amount due on the

Account on April 25, 2 22: $1,353.92.

      15.    As of Apri 25, 2022, the Account was 30 days past due for the March

2022 payment.

      16.    The Accou t statement dated May 31, 2022 shows that no payment was

made on the Account i May 2022. A true and accurate copy of the May 31, 2022

Account statement, wit appropriate redactions for privacy concerns, is attached as

Exhibit 8.

      17.    When Plai tiff failed to make a payment in May 2022, the Account

became 60 days past d e for the March 2022 payment and 30 days past due for the

April 2022 payment.

      18.    On May 2 , 2022, Truist sent Plaintiff a letter stating the Account was

two payments past due     A true and accurate copy of the May 24, 2022 letter is

attached as Exhibit 9.

      19.    On July 1 , 2022, Truist responded to an automated credit dispute

verification ("ACDV") rom Plaintiff. Truist's response reflected that Plaintiff was

                                         5
      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 7 of 56




one month behind in A ril 2022, and two months behind in May 2022. A true and

accurate copy ofTruist' July 14, 2022 ACDV response, with appropriate redactions

for privacy concerns, is attached as Exhibit 10.

      20.    On Augus 5, 2022, Truist responded to a second ACDV. Truist's

response reflected that Plaintiff was one month behind in May 2022. A true and

accurate copy of Truist's August 5, 2022 ACDV response, with appropriate

redactions for privacy c ncerns, is attached as Exhibit 11.

      21.    By August 31, 2022, the information that Truist furnished to the credit

bureaus no longer sho    d late payments for April and May 2022.

      I declare under p nalty of perjury that the foregoing is true and correct.




Signature ofDeclarant                               Date of Declaration




Printed Name ofDeclar nt




                                          6
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 8 of 56




       Exhibit 1
(Page 1    of   8)
                           Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 9 of 56
                                 II I                lllll lllll lllll
             111111111111111111 Ill Ill 111111111111111 111111111111111 11111 1111111111         lllll
                                                                                         111111111111111 IIII
                                                              • STI + REDACTED1020-'- HEA •
                                                                                                                        I Illll
                                                                                                              11111111111111111


      •smtrRusT
                                 TRUIST EQUITY LINE ACCOUNT AGREEMENT AND
                                           DISCLOSURE STATEMENT
          Principal          Loan Date          Maturitv                 Loan No            CaR / Coll            Account           Officer        Initials
      $50,000.00             10-28-2.02.1      10-28.•?9.~L               ***                               REDACTED1020
            References rn the shaded area are for our use only and do not limit the apphcab,hty of this document to any particular loan or ,tern
                                    Any item above contaInIng • • • • • has been omitted due to text length hm1tat1ons

    Borrower          TIMOTHY l KING                                               Lender         Tru1st Bank
                      1006 PALMER RD                                                              CLSC • Atlanta
                      LITHONIA, GA 300589085                                                      1500 R1verEd9e Parkway Suite 500
                                                                                                  Atlanta, GA 30328


     CREDIT LIMIT          $50,000.00                                                              DATE OF AGREEMENT               October 28, 2021
                                                                                                              r
     Introduction This TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE STATEMENT Agreement*! governs your hne of credit
     (the "Credit Line• or the "Credit Line Account• or the "Account") issued through Tru1st Bank In this Agreement, the words "Borrower", "you",
     "your", and "Applicant• mean each and every person who signs 1h1s Agreement, m1:lud1n9 all Borrowers named above The words ·we·, ·us",
     "our", "Bank", "Tru1st". and "lender· mean Tru1st Bank, its successors and/or assigns You agree to the following terms and cond1t1ons
     Promise 10 Pay You promise to pay Lender, or order, the total of all credit c1dvc1nces ("Advances") and FINANCE CHARGES, t09ether w,m all
     costs and expenses for which you are responsible under this Agreement andior under the security mstrument !"Security Deed"! which secures
     your Credit Lme You will pay your Credit Lme according to the payment terms set fonh below If there is more than one Borrower. each is
     JOmtly and severally liable on and under this Agreement This means we can requa-e any Borrower to pay all amounts due under this Agreement,
     including wrtho111 hm1tat1on credit advances made to any Borrower Each Borrower authorizes any other Borrower on his or her signature atone,
     to suspend, cencel ~ terminate the Credrt Line, to request and receive credit Adv-dnC8S, a11d to do all other things necessary to carry out the
     terms of this Agreement We can release any Borrower from respons1b1hty under thlS Agreement. and the others wdl remain responsible and
     hable
     Term The term of your Credit Line wlfl begin as of the date of this Agreement 1•open1ng Date"I and will continue as follows The Account
     establishes a hne of credit wnh a maximum credit hm1t ("Credit l1m1t"! upon which Borrower may request Advances for a period of ten !10i
     years ("the Draw Period" ► The Draw Period of your Credit line will beg,n on a date after the Opening Date, when the Agreement ,s accepted
     by us rn the state as referenced 1n the Governing Law prov1s1on herein. following the expiration of any applicable trght to cancel, t he receipt of
     all roquirod cert1f>cates of non-cancellation, and the meeting of all our other terms and cond1t1ons, each Advance, including an "1nrt1al advance•
     as defined below to be repaid under a Variable Rate or a Fixed-Rate described herem (" Variable Rate Advances·, or Fixed Rate Advances"! The
     Account shall be payable 1n full no later than thirty (30) years from the date of execution of this Agreement nhe "Maturity" or "Maturity Date·1.
     the last twenty 120) years before Maturity bemg the full and fmal repayment period for Variable Rate Advances ("Repayment Penod"I Fixed
     Rate Advances shall be repaid 1n accordance with the prov1s1ons governing the Fixed Rate Repayment Term. more fully described herein. which
     In no event shall or may extend beyond the Maturity The Lender 1n its sole d1scret1on may extend the Draw Penod If the Draw Penod 1s
     extended, Borrower shall be not1fIed and the Repayment Period may be shortened by the same period of time that the Draw Period 1s extended
     You further agree that we may renew or extend your Credit Line Account, 1f not otherwise proh1b1ted by applicable law
     Access During the Draw Period, the Account may be accessed by hl use of a draft l"Tru1st Equity l ine Check") supplied by Lender. (111 Lender
     may provide overdraft protection, (ml other means Lender may authori ze from time to time, or (1vl any other advancement of funds by Lender on
     Borrower's behalf Each of the access methods described above will only be available If allowed by apphcable law
     lnnial Advance "Initial Advance" means the amount of money you will obtain at closing toward the purchase of your home, ,f applicable. or the
     first disbursement you are requesting be extended on your Credit Line 1mmed1ately following the exp1ratIon of any applicable rescIssIon period If
     an Initial Advance 1s allowed by us at ong1nat1on/clos1ng for the purchase of your home. the mm1mum Initial Advance for that purpose must be at
     least $5,000 00
     Subsequent Advances During the Draw Period, Borrower may obtain Advances on the Account from time to time up to the available Credit
     l1m1t At the time of requesting an Advance, Borrower shall have the choice of selecting a Varoable Rate Advance or Fixed Rate Advance The
     available credit for Advances 1s the Credit l1m1t, minus the sum of all unpaid Advances (mclud1ng Advances 1nit1ated, but not yet posted to the
     Account) and any other charges posted to the Account There 1s no minimum amount for Variable Rate Advances, however, 1f Borrower
     chooses to repay a Tru1st Equity llne Fixed Rate Advance defined below. the mInImum Advance amount shall be $5,000 00 In addition,
     Borrower 1s l1m1ted to hve !51 outstanding F,xed Rate Advances at any one time II Borrower elects overdraft protection as provided 1n this
     Agreement or independently, such Advances shall be 1n $100 00 increments If Borrower presents an Advance which would exceed or violate
     these llmItat1ons or req uirements, lender may refuse to honor the Advance or may in its d1scret1on pay the Advance and may require repayment
     of the Advance under the other repayment option If Borrower falls to designate a repayment option, or 1f Lender 1s unable to determine the
     option selected tor any reason, such as without hm1tat1on because the merchant has convened the transaction to an automated clearinghouse
     transaction, then lender may require repayment under either option at its sole d1scret1on If l ender requires such a Fixed Rate Advance. or 1f
     Borrower does not specify a Fixed Rate Advance Repayment Term. or tf lender ,s uoable to determine the Fixed Rate Advance Repayment Term
     selected for any reason rncludmg without hm1tat1on because the merchant has converted the transaction to an automated clearinghouse
     transaction. or 1f Borrower selects a Fixed Rate Advance Repayment Term which 1s not avalfable or allowable, the Fixed Rate Repayment Term
     for each such Advance may be set at two hundred-forty 1240) months at Lender·s discretion
     Borrower will not access the Account when such Advance w ill exceed Borrower's available Credit Limit, result ,n a default under this
     Agreement, or would violate any applicable law, or during any period m which the Credit L1m1t 1s reached or exceeded Lender may refuse to
     make any requested Advance, including but not hm1ted to, returning unpaid any Tru1st Equity Line Check or other Advance request on the
     Account or refusmg an Advance for overdraft protection ,t hi the request does not conform to the requirements of this Agreement. o, (11I at the
     time of the request. the outstanding Account balance, as reflected by Lender's records, exceeds (or upon making the Advance would exceedI
     the Credit l1m1t, or Im/ the ability to make or obtain Advances has been suspended, canceled or terminated as provided for 1n this Agreement or
     by order of any coun or regulatory agency However, Lender, at its option, may pay any such Advance, and Borrowers will be Jointly and
     severally hable for any Advance(s) so requested and/or obtained by any Borrower, and add111onally w,11 pay any amount over the Credit L1m1t In
     the manner lender requests
     Overdrah ProteC11on If a Borrower under this Credit Lme Account elects to hnk his or her Tru1st Bank ehg1ble consumer checking account,
     savings account or money market savings account to this Tru1st Credit l ine Account !the *Protected Account") for overdrah protection, you
     autho11ze Lender to advance and transfer funds from this Credit Line Account (the • Protector Account") into that Borrower's Protected Account
     when checks. blll pay, or other debit transactions would cause the Protected Account to be overdrawn 1f those transactions are paid
     Transfers will be made 1n $1 00 increments trom the Protector Account to the Protected Account These transfers will be considered an
     Advance under this Credit Lrne Account Agreement The funds advanced are subJect to fees and finance charges under this Agreement There
     ,s no grace penod for overdraft protection Advances, meaning finance ch,nges will accrue from the date the Advance Is posted to your Cre<JI1
     llne Account If the available credit on your Credit line Account 1s not sufficient to cover the entire overdraft, Lender may make transfers to
     pay md1v1dual debit items up to the available credit on this Credit line Account For example, ,t your Protected Account has a balance of
     $10 00 and a check or other debit item for $80 00 1s presented for payment, which 1f paid would cause your Protected Account to be
     overdrawn, a transfer of $100 will be made from your Credit lme Account to your Protected Account and an overdraft protection Advance of
     ~ 100 w,1I post 10 this Credit Line Account balance     We will also c;harge c1n c1dd1t1on1:1I Overdraft Protection transfer fee to your Protected
     Account for each day a transfer 1s made, as disclosed 1n the Personal Deposit Accounts Fee Schedule
     Be advised that lender rese rves the nght not to 1n111a1e transfers to cover such overdiaft and to return the debit 1tem(sl for non·suft1 c1em funds
     By way of example only, we ordinarily will not InIt1ate an overdraft Advance from this Credit Line Account under the following circu mstances (11
     1f vou are rn default under this Agreement, Ill) 1t the Advance would cause you to exceed the available credit for a given transaction. 11111 1f your
     Credit Line Account 1s m a suspended or terminated status. and (1vl i f you fall to make a payment on your Credit Line Account by its due date
     In these instances, an overdraft or returned item fee for each debited nem will be charged to the Protected Account. wh,ch ,s disclosed ,n the
     Personal Deposit Accounts Fee Schedule The Overdraft Protection Advance shall be repe11d ,n accordance with the prov,s,ons governing
     Variable Rate Advances m this Agreement
     If a deposit account {the "Protected Account•) 1s 1omtly ow ned, any owner of both the Protected Account and this Credit Line Account (the
(Page 2   of     8)
                            Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 10 of 56
                              TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISClOSURE
                                                    STATEMENT
                                                                       (Co,,tlnnedl


     'e•,-·scw ,C,o mn ~,, "", , O•.s,;,,m '"'~'"'" """'o' ,., '"""' ol O,B, ,.,,~, ;~•,o ""• "' \ "•'•"' of e,•I« 1~ ''"'"•""
     ,,,,,oo, OA P,;,~<e, ,,w,o" ,.,., ""'•"I ~''"'"" o<- ec,o,, ,,,,1,_o, "'" co, ~,, d o,h,• """~- If ac o•~• of• P~<ec,c_ A~o,a, d,es
     "'"-11 "'~•e,O•,f< "''~•"-"• ""'~" " l"~L~ """"'""" ,o '"•'"'-' -~,, l,oTI >h, C,,a, Um Acc,o•· "f<O'•'"' '"'""'-" p•,.. ect,,o fu, '"•'
     ,~_.,~, A"o~, f ,o, nk a 10,d, w,~c Pn·,°"'• >•co~,. 'oc "''"" '"P""'"'" .,, "" "'""""'', ~'""''"" """"'"' '"'""""" o,
     ••c• ~-,se, ""~' ,_, """' " m,.-.,~ " "" "'""' """""" ,.,~, ~ •                 °'"" '"" ,, " '"'"' ""' '•"""" ""    ""~•'••'<, ""' ,,,., " ,u "''~
     , " "' "''"'" "' ,.,,,.,,,,,.a,""' ,. "' ,, ""' , "'" ""~' ""'" '" '" oU~• s •'•• """""'''• ,o,>, " ,~,. o' ,c..,o• • •"d .,.,_, ,w.o,,, "'" >,.,
     ,.,, •••~" <•• "'' ,, ,o •,,,,.,,, ""~"J, o• c' • "~ "" '"""" ,,. '"'"''"o'" or ,oc o""'"" ,.,, ,coo, ,~,r-• " m am• ,,, ,ffi m,o,
     A.!!",JAC '"C"'TAG• RA US """ >AYMEN"[ r§SMS PI/RFJ:l!U'.!i, Qfl8,V_F.,'9P
     -,.. ANrJUAL PERC"'""' , . , , oc v,,,,.,,e ,.~- • .,,,,.es shall ~- c,lcol,~i ' " ''" ,q.,,, "       r,,,, Wells,,,,,.,   Jo""'"'''"" '"' "
     "'' ' "' "~ "" """"°' "" '"" "" ,· '"' ,,1 • " , ,'" "' " "'"' "" "" '" '"""" • """ "" ro, """"'"~ ''""" . . ' """""'
     c.1,,,.,, o, ""Jo,"""""" <le 1,,, J,, o' """ Blm, c,.1,, '"" '-""~' »,J,, "''"' or .a 4'D%," me•• roll,•,~"'""'"'""
     ,~-,,, "''"'" '"'"l,d •r,rn I" ' " ' "'         ""="~"''"'
                                                          aNNJAc r:nCCfCAG[ OAT[ Oo,•o ,,e Craw Pm""        The nmm m AN•LJAL
     eeR<:>N , ASS ,A " m, ,, """" '"'" ""•"'"' '"' ""•aces w"' -m , """' " 000,C "" ac ,.,m """'' ·"" , ,,.,. '-""'• ''"' ""' <a~
     " " " " °'""'"°        °'"", '""''" '"'o• '"'""" ao1 n, "'"UAL 'Ef'CffiTAOe RaTE "" O,ae,a " , ' ' " , lo m a,B•c ""I ·o,
     ""'"'"""· ANNUAL PERCENTAOE RATE "' "" """ ' ' " " " "" ""o" " "~" ~'" u~ Im•, " "cccc,:,~ " I• "'""''"" .~
     ''"""' ,, ""'~"· Is.,
     "" m••1 oomer , •.,,.,,. •~• "'•'""'" ""'""'" ,o H~, ,~, "'"'""" ""'""'"" ,'OMO m, "'"'" """' o,• """""' '•'"''""' >,Meo ""'
     '°''"''' , "'"'°" """ '" "" "'"        e,o,ca " """"'' ""''' ,rn,e,no~ •~'""' ot              '"°'" "'~'"'-"' "
                                                                                                        F "" " " " '5,CX~• W• ,0,
     n,, ,l,o u ,~,, f,<e<l n,~ ,~.,-c,, "'""'" ·o v,,.,,. •••• ""''"" """'" Oo"'O ~• o,,- ""'"' 0, ""'"'"" Co,,,~.-''""' '"'
     m ,,., " " ~coc,• So, Sec<oc ~,,,e, ',\'eos ntlANC : Cl ARGCS ""''" To A,.,~ '" fu"h' • O,ra,I,
     A· ,i,. ,moo· , r,~J n,~ M•,o ,~. °""''"" a,II cl o,= • -.-,rn,,, ~ , lo, """ ""' '-"~' ,,,. 'F ~• '"• ""''• , " , -~;, wh,
     " mm" furt, , """'"" , ""''I T -, AN•UAL PEJ,C'"TAGf RA Te io· each '""' ""• R,oo,m~,o - • m , ,all b, • r ~, "" .,1,ol,<,O " ""
     """ of'"' Ai•,,wo O,s,rl "'"'" -e., P·mc aa.c m •--sc, oc •h• ~,, wcc<i,"3 -e,, f,-,, rlav oi ,,, RI ao C•,ce ,c ,•h,;h •ac, so;h .-~,a~• '"
     """   w"'"" """ , m,~,. o, > 000% a, ~'" ""' ""'"'" m,., '"·'"" "'~'" ""'I'" '''"""·' R,HC '"' '""•'Sf'""'"' A,NlJAI
     re,cer,rAGE AA Te Do""" "· "'·· '"'"' • "'"•"" " ' '"" ,,, ' " """ , " ' " " ,.,.,,.,, ANNUAL '"C'"""' ••" " ,Tua,l,c-1•
     '" T , ~• L """ 'I••" ,o""-' (,o ~,~, 3e,o« 'c .,, '"~' lo"°' F,~J So<, '°"'°'" ANNUAL PERC,NTAOE AATE ,,o mo, ,0 ,t O ~
     ""·""    ,._ ""m= ANNUAc!'[ACCNTAOERATE '°' r ~, "·" AJ,,,,,. '" , ., -~~" 1' 000% -~ '"' o,,,


     Cc,,,; ;,e D''" P,",O O, " ' ""'<,c, '"' ;.-, So••" eo m, MC~""' s,a~naa, :,.., "f~ooa< S,,,.m~, "°'~""' ag~" ·o "'' =a,,1,
     orthe, 1,: "" ,o<,I ,,,om os,01 ,s ,l»wo M ~• ea,o;, sm,rn,m ""' """" ""'""·1 M 1": '"' ,c,moe c,m, '"" ..,,,•~. '",.,,a,
     '°""'"      F"" ,< " ' " , 'l.',mm,m r .. mm' w,o, o "" >,~ ,• ;,. ~'"~"m <'I'~""' 'O" '"" 0, m, <'•0 :;: ,-,,_eM o,c.,o, es
     '""""'"'" ,ct '"'"      bdo-. ,1., ooy ,.,he.obi, '"'•"'" c,om,om, deb< """""'" o,                    '""'°'"" """''• "' "'"''
     '""'~""'"'''" '"' ,,s ~-, "'" o, "" 'cso<" S"rene,rt le ,,ld,o, < ·h, "'" O.lac~ •=•ds <h, C~-" U~,• """'" w"I ,,.-, '"'
                                                                                                                                              """."O'
     .,,,.o, ,,ci<oiod o,, " ' "'"''"' Sto"mc,t, to~"'""" Accooc> '"""' ~ wo•m ,o, ''"'' L,mo L,ac,, m<,                 ,,.,,"""""''to"'"''
     "''"'~' o,• ,o • ,O•o, ~J ,., ~ C.lo,~•• ,: ot "" " """~too '" p>,rn, ~, m,., b, nao, m Um.,d ,,.,,,, dim , " m,., be ~ " " c•• ,
     l""""I , '"'"'o" lo.obJ '" ,,_ U" ,>J " " "
     y.,~•• ""' "'"'""'' D~,, sh, o-~, ,,,,d "" n,nnoT momhl, pwm,rn dco fo, iocd, ,a,,a.,d ooJ,- <I• \'~•L'• R,~ ,__,_•"• ,, ,,
     L, I 'J6G<I, ,' ~• ""' OOlw,o, ''"'      "°'''"°' '"''""'• "''
                                                              c,~oabS fuo, aorl ,ha~o, Mm,=m f>,'mern, =fo oc b,l,a,,o o""" "" O"o"
     ""'', , """ " '"' '"•"""" ol ,I~ ,,,,,c '°I Cao, c,,
     F,~, """ A<Jruoo,, S< ,i,o       ''"'°o< a -•o; "•"' Ao,•aocc ""~"" ,,,,, ~'"" .- w""'n~, '"'m of""" '60, n,•,·e. ,S ,~~• """
     I ,, J,eO-,-,e , , i,o, , """" I IO ,-~>'. c•,e l'"'"""~•li'" 1160' mrn·os , , O ,-ca,,i, "'' ,.,, c,j ""' i,oo, m,cms :,,o ye,•~,, o• m '""
     ,-~•of"'-,..,,""' ""•I'-'•""" eo ow""'" ,Jd,,o,oll, ,l,,o,o 36C '"'""'" 130 """ "'"~'"'' >"< ""'" ,.,, Sc-.-,•m•m
       "'m      "~""'"" ,~, ~, w•n~ , Fmd R,~ '""'~""" Tvrn, cc, L.<•,~"'" u,.bl, ec• cl,~ '"" I~,,,_.,"""""""' T"m
     " " " " '"' '"''""'"•cert ac=w"' ,.,,M," F,mi '"'" Re•, ,=c> T,,n wh,ch" oo, "''"l..ol, o, ,11,ooclc '"" F,~J R,~                      '°'~"''""
     -, ~ '" ,-,o soc,"'""" m•v as,_,,-'"" o,~~"'-""' ,z.,;, mo,·hs "' cml"s "'~''"''" -.,, ANNUAL PERCENTA6E RAlE o"
     /,d.,a<e, """ " " ' <', Qpooo ,o,, 0, , '"" ""' ,e~•emo ITT"" ,n, '"" ,.,,,,,~- "o~W• ,o ,,.. A,~,o"' 1,c, .. , "'"" ,he ''"'" '""
     m ,tt-,,· ca <ho a.,'"""", "" r,.e, cs, ,r "" B• ,,, ,o,,,. m "'"'" "'" '"" ""'""'" ~,.,, ""'""" wm m, m.-,g,e "'"""'",,mm,
     "more fcl, dm,b,d ,.,,. •-d '" ·"' S.c,o.- .-,,,,a, ••~•'"' '"" """ '~""'""""~' ANrn" -'>-"'-"""'''                        '°'" """"'·o, L,-,,w
     ,.,,d. fo, '"' '" r,~. n,~ """""" T"M '"' '""•MO' "''"'"'"I ,.,M,m '"""" ~'" -~, "'" ,.,,,,,,~• """" """' "'"' ~,
     ,,.o~, ot <'o ,\d,o-", >h, AfffiUAL PffiCENTAGe ROTE'"",,_              f,,., ""' ""'"'"'' ,.,m     "'°<,•,aoca '"'"" '"'"' ·"' o,,,o, ,aa11 fo
     , '°""'"    or,"" F~d R= a,p,•,mca, Tc,m •o "'"' "h " ' mnnoT moo•OW                '"""°' •~'""
     C,Hd Ro<o    '°'~'" ~°''"~'     e., A, , " '""" ,c,,,,,_., " " " O '""'"''' ta,m t, " " ' a F,,cd Rot< A,i•,o•"• , )' 5 fu, ,hall 0, added
     ,- ;ee -,.ed Ra·e ,,m,,o,1 .... ~ lo, '"~""'' ,.,. f,.,, A•~ M,o .~. , .,~ &> <IONod 0, """''"' ""
     ANNUAL rERCENTSGE AAT" A..i PA!M_EITT TERM$ DU•INO ' " ' "'"""NT PERIOD
     -, a ANNUAL " ' " " " ' " ' . . T< w "TI• R,,.-,~•m ''""" ~- \'m.-hle n.~ A'"~''" ,h,11 ,. "" .. ,.e< • • ~ L~ .. , '" ' " ' \o/&ll Street
     ~""'''"' p,,,, " " "" "" ""'"' ,,. "" "'"' "'"'' ,~ v,,,ahl• R,,c A.a,,.,., ""''"""'>he "'"" r.,o, ~,. ~"" ,,, '" "'"""'" ,,
     C•rn cl fo, 'he loll ''"", .,,, ,,, "" ,o"'"~"'" """" R.-e        '°'''"'' """"' '''"'
                                                                                     ,o '"'"'\ "" ,••w. , ,_. scoea,.c-               ="'"'
                                                                                                                                        o;,,moa-
     amo, a,"" ,eo,,rr«· d """"'' n.,. AJ,,,,~ ,~1"~" ., lo'"'''" 120' ,oc, "'"'~"" a,,o; ~"' ,, ~l"" -- '•"'"" o; re'""'
     ,,,,ao·e "co, of'" ,fr, .. , ,~,cd ,1~ ""'"· ~,d "''         °'"''""•
                                                                     r~, "" '"'"'" All            ""°'"" "
                                                                                                    v,,,,,,, ,C,o >,,a~., oa,aa,~ "" ,,,a
     " """' "" c-,-, """ '"'"' ""' ' . " ' ' '"....,"' "' ,.,. ""'" .,_1,.,,1, " "< """"""'" '"'"'
          ANNUAL PERCENroo, •AT>, "" "'""""" ""'' " ' " ' '""'~-~ ~'"'"\" "'"'"~'"Tia ~r-a,m~, "' '""', ... A """""II
     "m; a a, ,•rte,mo,d , , each"'" ,_,oe amcl R,~ ''"'"" ,,,,own /,PR ,co ''"'' " " Re»,"~"' -,•m
     -h, ""' ""'" ,, •., ""'"" r,<yM'"' •" "",., s me, r"' vo•,,•,c ,_.,. ,a• F~•" '•"'' n,cmom m,a,hl, ,.,,,~, ~-''"'lo, ""' ""
     , " c,bl, '""•'"" ""'o~, 1m ""'" -, '" " , "' aes oo ,• ., ~", '"" ,"~"''" , ,,•O,o, m""ell,mocs "" d,~ 0 I ma, , ""'"" o,~.,
     ·h, Ag,ccmoo· i co< .1,,,&, ,~a ,o.s,n " ,,. oa,m.,, "'"'"''"' a,~ a, w"' ,. """ ""' P"V-"'" "'m, """ d .,._ ~-,,,,mes· r'"""
     aoomoN., esov,s,a•_•
     "'" , oo, e.,m,$ A,o Appi,ed Ucl= '"""'""' ,,,.,<l o, ~,,,,., 0. "''""" ~-- ' " m,o~ ,., II
     " "' "I ""       ""°"'                                                                                       °' "''"' "
                                                                                                                  "I ""'"" ITT "'"'"-
                          <tot,,;,, ~ na, So ~,o,~c b, la., -o,, <o '"' md" ,m,o-~, deb< ,~cell,<OO o, "-''""°'" O"SO" "' 0, '" -,,
     """ o I,~ ,1~"'' ,,; """' ""·        "°' ""ro "" '"""""' ~mc,pl 0,1,a,o
     "'"'•' o/ "''"'"'~ All''""'"'' nc« he m,•de h/ a ch•«, ,,,,oTI"" ~'''""' d~"'• ol,rnom• r"oJ, "'"' "• "'•'"' °""'' ,,, """'
      "'"•"'•" " U 5 " " " ""' '"'"' oc ""''K•' M' "• ,., ne ,m,--ao•c .-,ic~ss se,,,o oo ~o, P,,•odc S<a·no-· r«m•a" ~-"~- ., ~,.
     ''"'"" ,, ,o, u , '-", ,, ""'" '"" oo ,,., b,s,oo,s dw ,,,,1 o, '"'"'' m \'~" c,•rlo, "' '"-""' ,,, of"" " " '""""'' If,., ~'""
     "'"""" d I,~, ",., ""'" •""' I'"''""' a.cl>'""~°" w,11 ts,'"'""' '""PW ,o ,•c,m                        '='"
                                                                                                         I,~ '-<mm, h,, md,.,-, m,, h,
                       ·o
     •"~•d ,-, ,o i, ~ :,• d,,s of~n, ~,o, A, J,-o,h "'o' ,.,., o,•~ w""' '"""'"" "'"""''"'"'"' """"" ~" "'"" ""' cm mm ,Y," ~
     °'"'•= •·f•, , ''""' ,.,.,1,oec,.., "'" ,o.l, """ ,,.1~ ,., , • . f-"" I , .. , "'""'11"~' t, d"'ff
     ,,.~, c,~, " " •c~amo,, CMSS a ••~"'"' "~ .,, ,~,,. "" ,,. "'"'·'" ,•To~, moo m r,,-, Taom,d A,d 00•10, C.,llm
     1$,0 0,0 C'OI wh<" "'" 0, ,o.,c '("~"' , m,• ,,co., <', '''"'""- o,moa '"• Draw""'"'="'-'',~~,~, MO''""" m'" •O,ooco,
     , ,b~.o <• ,m '""""""~ '""" "" '""'~"' 0, "'" "'"""'"'• "'' "''""" " " ""' "" ""'"'                    '"'°"'"" , '"""'"' "" ~,
     '"""" 001- ~ Lomlo,', •~1"' Do, ''\ "" D "" "' ,oJ " ""- " ,vo ,\cooon ,s M " " " " " o, '"'"'"'" ~'" o,c,d '"'"""'• SC.
                                                                                                                                       "m~, ,o ""
     T>j   °'"'" "'""'·      he c c<l, u~ ,,,.,,,. "",_,,,,or"'" o,oc, L,m,".J ·.,lo""" ,oc "•'•., ~" "''" ,,.,,,o, ' " " " " "
      '0" ~"• ,c.J '" "'""' ,o ~ <I,, """"' of ,I e C,eJ" L""" ',Se '='"' "" "''' <o "" o, '""" '"' "'~'"' :~,_,,~                    '""'"''°' '°"
     ,•~•" ,,m,· " , o,a·,s .,~ ·, ~. coed""" "' ~,o,•cn,•a< ,,f ,a,,, <,,,,mco· •100, &,co•,, O,ed ~ ' " oe,c, a~,a e" "'"~" ~ ,•,o, C•o,J"
       ,., A•m,. " , ''" < """ '""' w,11 c,Y oe ,•~s,•c•,•• "' ,om.-•o " '"' o, ,.,,,, """"" ~- ,•,ccee ,occ C,e0, ""'" ,f wo e<co•c, ,o~
       ,.,,,' " ,, '"' ~, ... '" ,.,., ""'"""''"'"'' "'" "'""""' ,, .,,,,.,, --~, '"''' '"" A.'"0 "' .. ,-~.,,~,~ '"" ,.~,,, '""''· '"'" ,, .. , ....
      "' ' '"' co .., '""
     ""'~" t> ,. .. '"'" '"" _.,, ~,·1 '"'"" "'" '"'" ''"' to po•, ' " ' ' ~"           "',,.,,that,,,"' ''""'"'
                                                                                                               to ' " '""" "'" '''"'"""'·
     "~ ,.,o" ,,.., " " ' '1., '"'""~"' ""'"" ,,,. "'"" ,,,., '" "'"'" ·" "" "'"'"' ""' '"'" ' " ' ro, f,>d, "'o"'" ro,
     ,,,,, ,o," "'""""' ~"""' ~ a,._ ,,a " ,.,. ,.,,,,.,1, " 1,0 '"""""'""             '"°" " " .•
                                                                                            ,.,,L.O "' ,I~ ''""" D,-.J 'c•, , "' '""'""""
     ,·,. '"" ,1,-,., ·"' ""'"' ,1,.,,., ' " '""" L"~ ' ' ' " . " ,,1-,~,, ·"""" "''""'~'" '"'~" 0 ,~1,., .,, -~"'" ""'~'' ,~,
     """''- TI"'° .~,,_ "'"""" ,,,,luJ,, a,<I ""' ""'"""' .,,,.,~,~ <o _. • Jor.. 1 , o,~., • .,, °'""" I""' ,.. , ,ao, ~o,~'> If so• a,,
      ,-, ""'' "" ,.,, ""'"'" ., o,,~ """• "' '""              "',,.""I"~'"',"~•
                                                                             ,,,J ~"'"' ,o, c~,, Ua, -h,,,-., >•, •n,,,c, ~ ,,ha,.,,, '"
     _,o, G,-.J,< L"~ w,•I •• • "'"" AJ,,,.,,'" ,,,11 "'"'""' I~ f~,t, ,,,.,IWI• ,f "~ o,d., ""                "'°'"
                                                                                                           c,~, •cO «" m,• '"" '"' '"'°
(Page 3   of       8)
                         Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 11 of 56
                           TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE
                                                   STATEMENT
                                                                           (Continued)                                                          Page 3

      Advance(sf to any Option (andfor term 1f applicable) at our sole d1scret1on         However, we have no obligation to provide any of the credit
      advances referred to m this paragraph, and you hold us harmless 1n this regard
      Credit Advances    After the Effective Disbursement Date of this Agreement. you may obtain credit Advances under your Credit Line as follows
           Credit lme Checks    Writing a prepnnted "Tru1st Equity Lme Check" that we will supply to you
           Requests m Person        Requesting a credit Advance 1n person at any of our authorized locations
           Telephone Request Requesting a credit Advance from your Credit Lme to be apphed to your designated account by telephone Except tor
           transactions covered by the federal Electronic Fund Transfers Act and unless otherwise agreed 1n your deposit account agreement, you
           acknowledge and you agree that we do not accept respons1b1hty tor the authent1c1ty of telephone instructions and that we will not be hable
           for any loss, expense, or cost arising out of any telephone request, mcludrng any fraudulent or unauthorized telephone request, when acting
           upon such mstruct1ons believed to be genuine
           Other Access Methods You may also request an Advance from your Credit Lme to your designated account using any other access
           method approved and ottered by Tru1st now or 1n the future
      If there 1s more than one person authorized to use this Credit Lme Account, you agree not to give us conflicting 1nstruct1ons, such as one
      Borrower telling us not to give advances to the other You further agree not to give us 1nstruct1ons whrch conflict with the 1nstruct1ons or
      d1rect1on of any closing agent or attorney who makes payment to us on your behalf In the event we receive confhct1ng instructions, you agree
      that we may follow any of those instructions without regard to conflicting 1nstruct1ons, and you hereby hold us harmless and agree to mdemmfy
      us for any loss or damage, cost or expense occasioned as a result thereof or related thereto
      l1mrtat1ons and Transaction Requirements on the Use of Checks, and other Advance Requests            We reserve the nght not to honor Tru1st Equity
      Line Checks, or other Advance requests in the following circumstances
           Credrt L1m1t V1olat1on    Your Credit L1m1t has been or would be exceeded by paying the Tru1st Equity line Check or Advance
           Post-dated Checks    Your Tru1st Equity Lme Check or Advance request 1s post-dated If a post-dated Tru1st Equity line Check or Advance
           request 1s paid and as a result any other check or Advance 1s returned or not paid, we are not responsible and you hold \ls harmless and
           1ndemn1fy us therefor
           Stolen Checks    Your Tru1st Equity Line Checks have been reported lost or stolen
           Unauthorized Signatures       Your Trwst Equity Lme Check or Advance request 1s not signed by, an "Authorized Srgner· as defined herein
           Termmat1on or Suspension Your Credit Line has been terminated or suspended as provided 1n this Agreement or could be 1f we paid the
           Tru1st Equity Line Check or Advance
           Transaction V1olat1on    Your Tru1st Equity Lme Check or Advance 1s less than the mmimum amount required by this Agreement or you are m
           v1olat1on of any other transaction requirement or would be 1f we paid the Tru,st Equity Lme Check or Advance
           Other Restrictions You may not make a payment on the Account with a Tru1st Equity lme Check, or other Advance request from this
           Account We may not honor a Tru1st Equity Line Check 1f you notify us that you wish to stop payment of same, however you will hold us
           harmless and not hold us liable 1f we try to stop payment of said Check and we are unable or unsuccessful 1n domg so
      It we pay any Tru1st Equity Lme Check or Advance under these cond1t1ons, you must repay us, subJect to applicable laws, for the amount of the
      Truist Equity Lme Check or Advance The Tru1st Equity Lme Check or Advance request itself will be evidence of your debt to us together with
      this Agreement Our J1abtl1ty, 1f any, for wrongful dishonor of a Check or Advance 1s hm1ted to your actual damages Dishonor for any reason as
      provided m this Agreement 1s not wrongful dishonor We shall not return Trwst Equity Lme Checks along with your Periodic Statements,
      however, your use of each Tru1st Equity Lme Check, or other Advance will be reflected on your Periodic Statement as a credit Advance We do
      not "certify" Tru1st Equity Line Checks drawn on your Credit Line
      L1m1tat1on on All Access Devices You may not use any access device, whether described above or added 1n the future, for any illegal or
      unlawful transaction, and we may decline to authorize any transactmn that we believe poses an undue risk of 1llegahty or unlawfulness
      Notwithstanding the foregoing, we may collect on any debt arising out of any illegal or unlawful transaction
      Authorized Signers The words "Authorized Signer" on Tru1st Equity Line Checks or other Advance requests as used 1n this Agreement mean
      and include each person who submits the appl1cat1on for this Credit Line and signs this Agreement
      Lost Tru1st Equity Lme Checks If you lose your Tru1st Equity Line Checks or 1f someone 1s usmg any of them without your perm1ss1on, you
      agree to let us know 1mmed1ately The fastest way to notify us is by calling us at (888) 461-8862 You wall also notify us m writmg at Loan
      Serv1cmg P O Box 305053. Nashville, TN 37230-5053
      Future Credit Line Products and Services Your apphcat1on for this Credit Line also serves as a request to receive any new services (such as
      access devices) which may be available at some future time as one of our services m connection with this Credit Lrne You understand that this
      request 1s voluntary and that you may refuse any of these new services at the time they are offered You further understand that the terms and
      cond1t1 □ ns of this Agreement will govern any transactions made pursuant to any of these new services         We may also offer special products
      and'or services to you from time to time, 1ncludmg without hm1tat1on such services and products as. telephone payment options or specialized
      documenti1ntormat1on dehvery services, debt cancellation or suspension products, and/or credit rnsurance, for which Lender may impose a tee or
      charge as lender determines, subJect to applicable law, and 1n such event, you will be advised of the amount of such fee or charge, which may
      be provided orally to you 1f allowed by applicable law, prior to your dec1s1on to accept such service or product and related fee or charge
      Collateral You acknowledge this Agreement 1s secured by the following collateral described m the security rnstrument listed herein a Securrty
      Deed dated October 28, 2021, to us on real property located 111 DEKALB County, State of Georgia   The collateral must be your pnmarv or
      secondary residence
      Existing Indebtedness You agree not to request add1t1onal funds or credit advances from any creditor which may hold a pnor hen that contains
      a "dragnet," "future advance" or s1m1tar clause 1n any deed to secure debt or mortgage upon the Property securing this Agreement
      Insurance   You must obtain rnsurance on the Property securing this Agreement that 1s reasonably satisfactory to us You may obtam property
      insurance, and flood rnsurance 1f applicable, through any company of your choice that 1s reasonably satisfactory to us You have the option of
      providing any rnsurance required under this Agreement through an existing policy or a policy independently obtained and paid for by you. subject
      to our nght, for reasonable cause be tore credit 1s extended, to declrne any msurance provided by you Sub1ect to applicable law, 1f you fall to
      obtain or ma1nta1n insurance as required m the Security Deed and!or related documents, we may purchase insurance to protect our own interest,
      but are not required to do so, add the premium to your balance under any Option and;or term, pursue any other remedies available to us, or do
      any one or more of these thrngs The insurance we purchase may cover only our and not your interests, and may be much more expensive and
      will, m most cases, provide less coverage than insurance you could buy independently
      Right of Setoff To the extent permitted by applicable law, we reserve a right of setoff rn all your accounts wrth us (whether checking, savrngs,
      or some other account). 1ncludmg without hm1tat1on, all accounts you may open in the future, by yourself as well as with other parties
      However, this does not include any IRA or Keogh accounts, or any trust accounts tor which setoff would be proh1b1ted by law You authorize
      us, to the extent permitted by applicable law, to charge or setoft all sums owing on this Agreement against any and all such accounts, c1nd, at
      our option, to administratively freeze all such accounts to allow us to protect our charge and setoff nghts provided m this paragraph
      Penod1c Statements        It you have a credit or debit balance of more than $1 00, or 1t we have imposed a finance charge on your Credit Lme
      Account, we will send you a Periodic Statement lender may, but 1s not required to safekeep the paid Tru1st Equity Line Checks Lender will
      make photocopies of Tru1st Equity Line Checks and other mstrurnents upon request, if available (If such request 1s not made m connection with
      a billing error 1nqu1ry, 1t may be subject to Research and Photocopy charges )
      Each Tru1st Equity Line Check will be deemed to be an item for purposes of the Uniform Commercial Code f"UCC"I of the state m which Lender
      is located and the time periods and other requirements for exam1n1ng Penod1c Statements and reporting improper entries will begm from the time
      Penod1c Statements are sent or made available to Borrower Lender assumes no respons1b1hty for entries included on Periodic Statements not
      received unless Borrower gives notice w1thm sixty {60t days of the date on which the Penod1c Statement 1s customarily mailed that 1t was not
      received
      The rules tor stopping payment on Trurst Equity Lme Checks shall be the same as the Lender's rules for stopping payment on checks written on
      deposit accounts
      The Periodic Statement will show, among other things, credit advances, FINANCE CHARGES, other charges, payments made, other credits.
      your "Previous Balance," and your "New Balance • The Finance Charge !"Finance Charge"! shall be the sum of the Fixed Rate Advance
      Processing Fee, the Promotional Rate Advance Fee, each described harem, 1f and as allowed by apphcable law, and the Periodic Finance Charge
      ["Penod1c Finance Charge") A Penodrc Finance Charge will be imposed on the Account and will be shown on the next Penod1c Statement even
(Page 4   of   8)
                        Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 12 of 56
                           TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE
                                                 STATEMENT
                                                                      (Continued)                                                             Page 4

     If the New Balance was paid in full on or before the payment due date of the prior Periodic Statement   Your Periodic Statement also will identify
     the M1n1murn Payment you must make for that billing period and the date 1t 1s due
     When FINANCE CHARGES Begm to Accrue Periodic FINANCE CHARGES for credit advances under your Credit Line will begin to accrue on the
     dcite credit advances are posted to your Credit Line There 1s no "free ride penod" which would allow you to avoid a FINANCE CHARGE on your
     Credit Line credit Advances or balances If you convert a balance from a Variable Rate to a Fixed Rate, the minimum amount that may be
     converted 1s $5,000 00, the $15 Fixed Rate Advance Processing Fee shall be added to your Fixed Rate pnnc1pal balance 1f and as allowed by
     ariphcable law, and finance charges shall begin to accrue at the Index and margin 1n effect at the time the converted amount posts to your
     Account If you convert a balance from a Fixed Rate to a Variable Rate, finance charges shall begin to accrue at a variable annual percentage
     rate based on the Index and margin in effect for Vanable Rate Advances at the time the converted balance posts to your Account and shall vary
     thereafter as do other Variable Rate Advance balances
     Method Used to Determine the Balance on Which the FINANCE CHARGE Will Be Computed A daily FINANCE CHARGE will be imposed on all
     credit Advances made under your Credit Lme imposed from the date of each credit Advance based on the Average Daily Balance For each
     Bilhng Cycle, the Periodic Finance Charge begins to accrue on a Tru1st Equity Line Check or other Advances on the day the Check or other
     Advance request 1s received by the Lender for payment and transaction Lender calculates the Periodic Finance Charge on Variable Rate and
     Fixed Rate Advances by applying the Daily Periodic Rate to the average daily balance, and then mult1ply1ng the result by the number of days in
     the B1lhng Cycle To determine the "Daily Balance", take the beginrnng balance of each of the two Advance options each day starting with the
     New Balance from the last Periodic Statement, plus all purchases, cash advances, Tru1st Equity Line Checks, or any other Advances under each
     Option posted through that day, minus any unpaid Finance Charge, other charges, payments or other credits posted through that day The
     "Average Daily Balance" 1s the sum of the Daily Balances tor each optmn for the B1ll1ng Cycle d1v1ded by the actual number of days 1n the Billing
     Cycle The Periodic Finance Charge tor each Fixed Rate Advance will be calculated by multiplying each Fixed Rate Average Daily Balance by the
     Daily Penod,c Rate, mult1phed by the number of days in the Billing Cycle The Penod1c Finance Charge tor the Account 1s the sum of the
     Penod1c Finance Charges for the Variable Rate and Fixed Rate Advances
     You also agree to pay FINANCE CHARGES, not calculated by applying a Penod1c Rate, as set forth below
     Fixed Rate Processing Fee When Borrower has chosen to repay a Fixed Rate Advance, a $15 fee shall be assessed to the Account for
     processing the Fixed Rate Advance, 1f and as allowed by applicable law
     Promotional Rate Advance Fee You agree that we may offer you promotional rate Advance opportunities from time to time In the event you
     avail yourself of such promotional rate Advance opporturnt1es, you agree that we may charge you a fee of One Hundred and 001100 ($100 00)
     Dollars, 1f and as allowed by applicable law, which such fee shall apply to the amount of each such transaction If any ANNUAL PERCENTAGE
     RATE ("APR") m such offer ends after a hm1ted duration, the APR on those transactions will adiust to the APR applicable to the transaction as
     determmed by other applicable provisions of this Agreement Transactions from such offers that post after the void date disclosed or that are
     made payable to Lender or one of our related or aff1hated companies will be dechned
     Periodic Rate and Corresponding ANNUAL PERCENTAGE RATE During the Draw Period
     We will determine the Periodic Rate and the correspondmg ANNUAL PERCENTAGE RATE as follows                     For Variable Rate and Fixed Rate
     Advances, we start with an independent index together with the applicable margin as described herein
     The Daily Pcmod1c Rate and the corresponding ANNUAL PERCENTAGE RATE for Variable Rate Advances and balances for each Billing Cycle will
     depend upon the Pnme Rate, together with a margin of +6 460% The "Prime Rate" means the highest per annum "Prime Rate" of interest
     Published from time to time by The Wall Street Journal m its "Money Rates" listings, as the Prime Rate In effect on the day preceding the
     first day of each 8111mg Cycle In the event that on any particular day The Wall Street Journal publishes more than one Pnme Rate, for
     purposes of this Agreement, the Prime Rate shall mean the highest Prime Rate so published
     For Variable Rate Advances, the Daily Periodic Rate and the corresponding ANNUAL PERCENTAGE RATE may increase or decrease according to
     I11creases or decreases in the Prime Rate If the Daily Periodic Rate and the correspondmg ANNUAL PERCENTAGE RATE increase, the Periodic
     Finance Charge and Mrnrmum Payment may mcrease during the Draw Perrod The increases and decreases caused by changes rn the Prrme Rate
     will take effect on the first day of each succeeding Billing Cycle and will remain 1n effect for the entire Billing Cycle For Variable Rate
     Advances, the current Daily Periodic Rate Is O 02660% and the corresponding ANNUAL PERCENTAGE RATE Is 9 71000% These rates are
     based upon the Prime Rate of 3 250% which was 1n effect as of 10-26-2021 Notw1thstand1ng the foregoing, the applicable Daily Periodic Rate
     and the corresponding ANNUAL PERCENTAGE RATE for the first andior subsequent B1ll1ng Cycles may differ from the disclosure 1mmed1ately
     above, due to the following al The Index rate may change from the rate disclosed above, which will then change your Daily Periodic Rate and
     corresponding ANNUAL PERCENTAGE RATE accordingly, andior bl in the event your ANNUAL PERCENTAGE RATE disclosed 1mmed1ately
     above andior for any other apphcable B1lhng Cycle exceeds the maximum rate allowed pursuant to this Agreement, then for each such Billing
     Cycle your D,uly Periodic Rate and your corresponding ANNUAL PERCENTAGE RATE will be capped at such maximum allowable rate, that bemg
     ,; Daily Penod1c Rate of O 04932% and a corresponding ANNUAL PERCENTAGE RATE of 18 000%
     1"he ANNUAL PERCENTAGE RATE for each Fixed Rate Advance shall be a fixed rate for the full Fixed Rate Repayment Term The Daily Periodic
     Flate and the corresponding ANNUAL PERCENTAGE RATE tor each Fixed Rate Advance will depend upon the Pnme Rate [the "Index") The
     ANNUAL PERCENTAGE RATE Is determined at the time of the Advance based upon the Pnme Rate 111 effect on the day preceding the first day
     <>f the 811Jmg Cycle in which the Advance 1s taken, together with a margin of + 5.000% However, we may make lower Fixed Rate Advance
     ANNUAL PERCENTAGE RATES available from time to time Please contact Customer Service for any such lower Fixed Rate Advance ANNUAL
     PERCENTAGE RATE you may be able to obtain For Fixed Rate Advances, the current Daily Penod1c Rate Is O 02260% and the correspondmg
     ANNUAL PERCENTAGE RATE Is 8 25000% These rates are based upon the Prime Rate of 3 25000% which was In effect as of 10-26-2021
     Notwithstanding the foregoing, the applicable Daily Periodic Rate and the corresponding ANNUAL PERCENTAGE RATE for the first and/or
     ~ubsequent B1ll1ng Cycles may differ from the disclosure 1mmed1ately above, due to the following a) The Index rate may change from the rate
     tj1sclosed above, which will then change your Dally Penod1c Rate and corresponding ANNUAL PERCENTAGE RATE accordingly, andlor b) 1n the
     twent your ANNUAL PERCENTAGE RATE disclosed 1mmed1ately above andlor for any other applicable Billing Cycle exceeds the maximum rate
     ,1llowed pursuant to this Agreement. then for each such Billing Cycle your Daily PenodIc Rate and your correspondmg ANNUAL PERCENTAGE
     ~ATE will be capped at such maximum allowable rate, that being a Dally Penod1c Rate of O 04932% and a corresponding ANNUAL
     ~ERCENTAGE RATE of 18 000%
     i=or example, 1f the statement closing date Is September 1st and there are thirty (30) days In the B1lhng Cycle, to calculate the first day m the
     131ll1ng Cycle, subtract thirty (30) days from September 1st, to arrive at August 2nd This B1ll1ng Cycle would begm August 2nd and end
     September 1st So 1f the first day of the B1ll1ng Cycle Is August 2nd, the corresponding ANNUAL PERCENTAGE RATE tor that Billing Cycle will
     equal the Prime Rate 1n effect on August 1st, plus or minus the margin The Daily Penod1c Rate equals the Prime Rate plus or minus the margin
     d1v1ded by actual number of days in the year
     lhe ANNUAL PERCENTAGE RATE does not include costs other than interest
     Notwithstanding any other provision of this Agreement, we will not charge interest on any undisbursed Joan proceeds, except as may be
     permitted durmg any Right of Resc1ss1on period
     Cond1t1ons Under Which Other Charges May Be Imposed       You agree to pay all the other fees and charges related to your Credit Line as set forth
     below
          Fee to Stop Payment    Your Credit Line Account may be charged $30 00 when you request a stop payment on your account
          Overhm1t Charge Your Credit Line Account may be charged $25 00 1f you cause your Credit Line Account to go over your Credit L1m1t
          This includes writing a Tru1st Equity Line Check In excess of your available balance
          Late Charge Your payment will be late 1f It Is not received by us within l O days after the "Payment Due Date" shown on your periodic
          statement If your payment 1s late we may charge you 5 00% of the unpaid amount of the payment due
          Other Charges Your Credit Line Account may be charged the following other charges        Returned Items     The amount of this other charge
          1s The greater of $30 or 5% of face amount of the instrument
          Settlement Charges/Closing Costs You agree to pay to us the add1t1onal FINANCE CHARGES and settlement charges ("Closing Costs"/ set
          forth below 1n connection with this account
                             $3 10                   °FLOOD CERT-LIFE/ XOME HOLDINGS, LLC
                             $24 00                  .. UW TTL INS i SOUTHWEST FIN LTD
                             $50 00                  * *TITLE SEARCH i SOUTHWEST FIN LTD
                             $50 00                  ••APPRAISAL i SOUTHWEST FIN LTD
                             $150 00                 • *CTY\CO TAX\STAMPS
  (Page 5   of   8)
                           Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 13 of 56

,.~
                              TRUIST EQUITY LINE ACCOUNT AGREEMEr<IT ANO DISCLOSURE
                                                    STATEMENT
•                                                                         ICoatiauodJ
"' - • - - -
~

--_,
'           We " " """ ,o ~J ,.,~,     '°""
                                          o, ,II " U e """"' ,c,,c, "" •,vc. !,eh,I ' •I 1,.;,,e o '"" h, '"" o· ,_,,~,~"- I,_ "~'" ,oo "' "
            '""' "" "" "'"''~' "' fo, ,i,. C• '""'• Con ,a,,~,cecl 0, ,s m ,o " " " ' ,,,. rra, ""' ,., nmfil m ,,.,,. ""-"-"'"'"'" b,1,.,- a,
            ~, "m" o, •a,ott, o," ,.,.,~""' V"" w,11 oa•,,,      -=••
                                                                    "r>'" oarn"'" A""°"_.,.,., 1••, """~ -,,, "",e,-,,~,o• '"' ano m
            ~,,.-a= a'"'"' La,·'"''"""',., os .,o
            sol,I;, '""''""'"""' '"'    "°',    '"""' ~"'"""'"•,,,a'""°''         m '''"'"-'"m•a," <=""'"' ""'"'" """' ""' ''"' saa,1 t,s
                                                       AconTI••O., ,o, """ ,c, '""""'" ,< ,o <I• arnoo,n er ,.s·, 10 ,.,. ,.,,,,•arnw e<
            ,e .. c'-""' ~ ,c, ~>,°'""" ,_,,,,,
                                            a,,ac,oW o, us oo -o., ,~,..,r a,,i, <s "'•"' ,, ,c,, '-'<, ,.,    ""°"'"•'
                                                                                                                  o,e, rw ,< .,., ,,,.a ,,, ,.,,.,
            frum "'" J"e or<'•""'""" of U, hC"'"""' 10 "'"'"' ,, ,lo'"" C, ,,,1,,c1, i__, " ' ~,"~ 'O ,,.., '"                      '°"'
                                                                                                                                ,r '""''"'" II,
            wle;" o, '•"'"''""o" of ~• '"""" "'"", e, C •""'' ,,,. , CT nay~• """~ ru lh, ,.,,._,ff'""""
        loodo,•, "'""      Ude•"" '"~'M"'< •,e ""' "" """'"'"O •SOB
            '"'m'""'"" '"' •~•''"""" '.\',• ,a• '~'"•"' I"~ Cre"" "" •~"'"' "'' ,a,"'" ,-,, m f<\' ~ '"" "'"" """""'' "' '"'" ce ,, m•
            '"'"'""'• """ "'"''' "'' c,rtam """• 0 ac. "' '"' ·•lloong ""'"' '" Y<., 10,om,I ,~ .. " o• m,,. " ,.~"""' """'>"""~"""" -~ "'"
            .-,. " '"'"'"'°" .,,,, ~• ''"'" '"''"'""'         '°"
                                                                """'"'""••lo,.,.,.,,_,, h>•• '"'~•"" Awl'"" m,c•,~, ••••~ ,., I,••• "'
            m  •<'•· ""'"' ,,,     ,ou ''"""" so""""" ,,, < "' ,~ ol n~, -e., '""="'~""'of U,s C,-.J" •                   ,.,=m ,;,
                                                                                                                                 'oo• ,oloa o•
            "-"'"" ,..,,.,cl, •"•'~   -e., ,oJ,~,,, lo, <"• '=•"'"'
                                                                  o, ''"' •gf~ ~ ~""" '" ,o, col ~,,,J n,,, ,,, """"" fu, •=,k bo< w,U-,,~
            Im"'""• b """ m,mbm "'"'"' me ·•·cc, ••~~ o, de•""""' "" ,f,>o d,s,11,cg, ia,1,.," p,• ,m,, <,a<h of>'\ P"""' I abC '"
            <he"'"""• """~' ,< ,o, o, .al, ,< ,h, a-,,11,•g, m>l,,o ot , e,c,o, '"" ,o ""      ,,,~,o, """'~ ,., '""' '""'"""
                                                                                                                            ,O,acio.csc ,., ""
            ,~, ••• ,· ,,,.J,,, ••· ,,, .,,,"'""°'" "" '"'"""'" '¥"'"''" '"""'" "'           ,r ",, -· ' " , "'~"    ~•~• ~.,•• ,, '"'~""·"·
            ~oL•~ o, """'"" '"'"""' '""" " , '""' "'""''"' '""" or ,J, r-,1,
            D,~ol< a.o,,Oo, Uo," ,eho, w, ff,-,,'"'""" •"V " ' "' " " , ca,n,,•"-' "''"'A"'""""' ~, Sece"c, '"""'""' '"" ~, ,-o,-e
            "''""""" o, '"' OU•• , ,to~ ,-,- a,; " A ,,. 1,w o< ,oo,·, m.loJ"~ .01 ol """~'• "-' "' """ lo " ' "" ,~, P o,e,<, ,< , "'""
                                                                                                              -""~"'
            '" "" , o, " "' • cl,cl C,• lo,• W, ,, " " • •• o, ,,_,,,., "-' ~,,, c, ' " ' o o,o "•"" u,a,, ,.,, ol •m• ,,,.,. """ '" ,i " I ,,
            '"' .r o., c>hec ""'" ""~ 'h, A,re""' ,. r ,,,,~ ,~,. _,-, ''"""• •""' a, lh a,e,o- C. m>.,m Ad•.,~as o, "e >ccoca· ""
            ,.,mm~,"'',,.'""'"""'~, >,=1 Cw,~,,,~ Caoc>, ~,,., o, .i~ma •a,O A,,,,,,.,,.-,~, m'w "''"'"•" ,.~~v-. ''"~"'"
            """" ~ """ ,oo " '"~" '"" '°'"'"'""''
        ,~'''"'"" o, ""'~"~' h, acJ""" ,. ,.,1 "'"' """ _, "~' '"" "" ,,, , '""'''' '""'' aal '''"""'"" or"'"''" " Ao,,""" " ~-,,,,,,
        ,u, C,M,1 '""" Ocarra ,01• ,~.o. "'--•h,.h "" ol II~ ,o>,,,,,~ "" ,. '"""
             , IJ n , ''"" or ,o .. , "'"""I '"''"'' "'"""'""' """'' ·,a '"""' •, , ' " """ "''" f"' '"'"""' "' 1h, c,e,,, '" ,, "'"'""' -,,.
        ,-c " " ~, <,mp',, , '"""' s<>OO "'" ,-, MOI •        "''"'°'
                                                                   Lo<o~o "" c~"' Lm, .ad <ao ~",labl, O<J"~' " ,., ,cod b-y ·,fly ~''""' ,w
        m,, ,~h de , ,m,llc· '-''""' ,,,.,d "' '"<I• ,m,ad,,I, ""m"""'
            12) w, ,,_,,,,," balo•,a "'"' "'" ~,11 '- •"""" ,,,11 >O• ,a,moo• obho,<oOs .aco• ,,,,, C,edo l,co                '""°''" d,o ·o, n"""
        '°'"'""' '°"' '"'"'"' """n"'°"'
              ,') Y"o ••" del>,II, ""'"'""~•al"''"'"'"",, "" '"'" L,~ "'"'""" '.\', caos,Jo· al' cf~'"' ob's,~•~" ,e Ta<o,•al
        C.c.,o"" "' """"' •,O "" Oc•~ ""'~!• "'" "''"" ., .. .,v, .. , '"'" """" To,m oa,o, aad Occo•m,rn, ohlso< o~ m r••• fees ,,-; ,ha,scs,
        •,bl J"O" o·O •"""'o•~ •• •he ••••" o, "''"'~' of c,,•J,< '<l,~co,, oe ''"'"' ,o•o,mm3 ma,o,,~,oo "               =
                                                                                                                   ot ~, pm,o"'' o, """"'•
        o,h9 ,< '"' ,o o,y aod wro,n ,o,   ·•=•of '"' °'"" ,~, o' -,~, m"""'' o, ""' ot ' " '"'"'' , ,c ,,. "''"' ,o "' ,,,, ,s ,,oO " e o,,O,
        <o,.,m•o,s m ,cfmm,.,-, m "' lsoch as , r• .,., ,~acc,al ,-fn« '"""' '""""""' " ,c cpl•, " ""     ,w
                                                                                                        coca ,-,,, ""' , " '"" " ,~,-•coo, , ,
        aoi ools<"oc< ol•c,• rn make• c• •of,,,,ooc• f>, oct,,,,1, ""'°''"'",I "' m"I "'<Oh,~•""°' or-"""'~,_~ ,. •,oo mo,'",~
        s" " •Ohl mo~•,, "•'ao•c,

            "l ,,, m ,~'"""' '" ,-~"'"""' ""°" Fmm ,moos,,, m, """""' ""'"'"'"' SOTe                     '"'°''
                                                                                                      m, '""' & , Ao~ome•
            ,e, Tl~'""'" of 0c, """'" " '""" " " " ' ' ' orr« ,a"' .o~·,m,al • ·,c, m <a•'"""' llal -he"'"", h"o so,""" ,ma,,s, ,s ass
        "'"" "" F" cl,e,J N,e, , """ .,- 11 20%• o· I" en.a,- '"""
             16> \'I<"""' '"'" oc·,•,ed 0, :O"B'JmeITTal ,,~,~ , , "" '"" '"" ,a,,-~, ""', o"'"'"~"' ",,.r. a·rl " """' ""' ""'' ·,ac, _,
             :ii 'le •a,    ''°""" "''"""" ,,,.,.,~,M ~"" "
        ''"CENT•• , "' Tl' '""'' '""' ''"'" u,~ Mco,o, " ,..,.,,
                                                                     "'•°' ,co, c,,;,1 -"" '""''I '"I' .,,~am """'          ANNUAL
                                                                                                                                1,,, " ' " " " "


        I- w, •,m,c•••"' rmN.,,. .,-,,,,~.,, "'"'""",•a'"' a•, mfil '"'"' "'"" "" '"'" _,~, """ "'°" '"of,., ~""''°' ,,•~••" "• "''
        ,.~-,a,""'""' ""'""' """" "''"'" '"'"" sTI<• ''""'" '"'" Cf•'"'"'"''""•""~•,<,, c,o ~,~«~'""""~'"'cf c;,o,,
        O"""J"-" '""'"'' "'"" w• a,•,a ""'"" \Oo "'"' '"'' ,,.,., ,. "\'O" '"''""'"·• .ad ob g,•,o- ·o ao>,fy _, ,t ,,o< ah•o ' "
        , "'""'' '"'""" ha, ,.,, ~     '°'"''
                                    s,b .e, ro "-'' ~"""" '""'"' oo aod "" h,wc •o ob ~•"o' <, f.ro•, "'"""
        '"""'" " T~m,       •••• m,,, ~,., '"""'~ ,s '""   ·•=• of,.,. •o~•m.., ,F ,o, '1~< <, "'' caaa,a ,. """'' " '"" "~'• ,f ~, ,Mes, ""'
        "'"'""" "''"'' ,~, ·m,,""''" "" "~=•" ~"" '"''" '-~• ,,~~m. •i ''° ,,.-,a " '"'""'"'"' '"-'"" « ,h,oges ~la;,o, <o ""
        " " '""'"-'"0      """"'•.a,,,.."'""''""•         0,1,so " ' " """•     »,="   dco d~o,, da•, of <he ,omh rn wlcf lac•, s,lco, a~
        J,½•~·ed, • ,,,. " '"½"'' ,n ,o,,J,og ,,.,, ~, ,,1, ,co ~rr,u1c,o, "°''d " ' " "''""' "''''"'" o, '""9' 1,oam ,,.~ •.,~, ,o I JO
         .,,~~, ,., ""'• cc,< ,.,,,Foe <m•~ '" "'"' 10, ooco•~~, of ,o,c,;"e ,~," " " " ma1 "'' ~,,, o•o,~••                  '°"
                                                                                                                            ,•,II t,oc" 1 ~"• ao•.'0
        " ,d,,.o~I .,,,r.as o, , ·,m,o·o~ ~,,.,o m ,n, " ,~, I• occo,;,oc, """ ,w, ~ ""• """" so, , e, """'' "' ' " " • ,; """ ,
        ~d ro fore,m,~ >h, ,,~.I '=•m.,go Sa<•" "'' l"i~ " co '"""' '"''""" '" _,, "" '""' ,,. -,f ol,o= , '""                  '""°' '"" , ,,.,,, ""
        ,co •edo, "'' h.-,,, OS h,m,,cal ~~moo, scbmoo,I < ,,m,la, ,o <J< '"""'' '"'°" ,,,J l'Jo "'" I J<l,s ~,a n"~, -,,II """ "' ao A•NUAL
        f'EACENTAOE MTE II«" '"" '""""' '" ,a, ,o ,I~ "' ,, ,••,c1 , I • ·,me II,, "'S'~' ,mlo, ,~-rn•• "~"" o.l, ~-e<Jo· na, rr,,ke '"' -,,
        tlJo ''"'"~ ,,.,,,..,, ,ro~ .,, '""' ,,,, u,I~, ~ "'"' o, ""' ~. o•I= ao,i ,,bi, "" ~-,o,~s """"'~
        '°"~""    C-ooa, W, ~a, h,,." ~W ><m'""' "" « ""' ,~ac. <\,a,,,.,.,~,,"'"' 00 '"' ,., Yo, , . "" "' "'" ="u" -,,,,
        •Jci,.e, ,,b~C <o .,,,' ,,,., 0 ,Oo, """'"-" "" .~, OOm ,I collec"O" .,~""' C o,I c~I, aCO f,f,~o oe,ce (1 '"" of lhe 0"0C' " """
        m o,0 ,.,- ~, <>    ""°''""  roe, ~ """"''• ""-'"•,>' re,, " ,lloooc a, I,•,• f "I ""' ""'"0 '""' ;OS AgMmac- aM             0, o·  °"'""•"'
        ih, ~,- '"    °'
                     0 '""' .rt ,~, "'"'""" • col " "" " • " •~"• • " l"3al "'l""'"' ,.• , "'"'"'"' , ,,~'"'"" """""'"l ,•••m " ma,•, o
        "''"" ••v ,,m,na·,c ""' m "'J   '"-"•~I.
                                               ,00 ""'"' r ,01 ~o• "''" " '""'"'" i,,,,,           '°" "" "' ,., '"" °'""
                                                                                                                     com ,e "'-'' ", ,o ,II
        "'"'' "" ,~-"' ,, ""
        •~• U,oa ""'""" ~ D••••• h, '"""o" , •• o,o ooh,,"''"'""'"" ,.,m,•M,oc, """ ,~e10=00, '"''""'~,-,.,~,.,<a'""""''""''"'
        l"RCat,TAG, RAH ~,, b • ''"'al,~, "' ~~, ,,~ a a<e•, - a,'"' "= o, ,,,m,se,oe ,oa          "°'"'."""
                                                                                                o, m,~m, "" ''" "' .,,,,, ,,,e,J
        "" M""~'~ ,~e ,llc..,oa 0,• ""'"""" '"'''
        "''"' D....,., " '"'' C"ci I _,., ,     °""""""o ,. ""''"'' "-" '"'"' ,mc,c~,."d' '•""'" 1<, "' ,II •,us> '"'"'' """ <'I c,•k, ,,ca ""'I ITT'••
        «cm'~""' Sey m of,~., [ao<c• -"• Ct,,,k< •• °''""~"'•ca,~ m,e,•,oa "~'~"''' ,, '"'"""'"" rn.-, ,_ ,oo,,•ea,I
        """" ""' \'oo •-,II a1,o ,em,n 1,-,1, "" '"' Oo;h" "" of - ""' a,,,., • "' C~-cca c 0110, l'.eS" I m• •«= '"""'°' "' , .,,,, e, " , ,.,
        ,cd ••· '"' Ado,acc, '"'" ma\ b, oh acd ,cd '"' ~" ,h"O'" ""' """ ""m "'" I>• "' w•-' "' ''''""" , .. ~ "" .,,, "'"''' ,, w,I,
        ,C ''°""'"" 0 ' IMM,"IOO W~"""' ,oeh SOO!""•OC 0' '"~'"""" 0, "' "' "'J ~ °"COe>~O 1,, '"•" o, ,, I ""'"

        0,1,, m O,f.-oomm< W, m,, do.-, " ""'~ "" ea·,,o,m,m of aa, o1 "' sOB "'"" ,,, ''""'""' "'''°"' l;s •,s 1·,ol "•'" •• •>, o<' •
        ,~trr '"""cola•,.-""'~ -~voi ou· 'S"" ""Mc,.,-,= 1h,< "'" .c ""                  '"'° "' "' '"'"~ "'"""' ,J .. ,o-, "•"'" Fo,
        ~•m1"'1"' \OC' "'""' 'o, OOIJ~,,ymcot w,11 ""'"' o "'~"' ,. '"' ,,,i,• ~ ,.,,, , ,.,. "'" '"'"'"' " "" r"'"~ ,I "'"ha~"•" ,.,,
                                                                                                                                             °'""'' ,,,,
        C-=11~,o,, Te,m,~ « Sosp,a,= ,,. Vo• If .,o """, ·•="'"' o, ""'"' ,c•,< ,-,, <• c~,,caa,- ,ce, '"•"' ,•,.                          '"'°'"'' ,.,,,
        ,o ,,- ,c,fy , •• " ,,,,.., ac ,F>, odh.ss cfo•••o co '°"' Pm"i" "''""~" ~ ,.,.,, ,eJ,.ss    J,,""""Ls cs " ""'"" Ces,<o m,e '.ica,
        ~'"""""'" w,c;,·, oo      ""°''"""' ""'" "" "''""''"' "'" ,~,.,, "
        ""' A"~'°'°' ,m,,c ,O• c., ,bl l' ooc ,o '""' AJ ,.,~a,:
                                                                                    ,n f• " ocJ """'' ""' I ""' h,~ ,., " "' ,m~,m, "'" ""'~

        '"" "'"'"' "" "'""~~"·'·" '"'~"'~ oo "" '·""" -, ,.,. "'""" c.i, ,., oo ,,. a, , •• "~ ,c. "·"" ,i <I• 1em".,'" " ·I• '"""
         ,, ,~ ""-''""" 00 • """" '" """"'' "«-•> U,oo ,.,rn,aaw,, ,I ot,a Accco,· II~""" A.,o,sl Nim,"'"" ~"-'""'"' ''''"
        """'" """"' "" " ' " " , ,, '"''"'' o'""'' o, '"          '"'°'
                                                                      ,< -,II be,~," ,-,.,aol," full o lea,'•'"' '"""e' '"" c,n rn•em,e o•
        '"""'"' ~" Ac""'""' ,, ,,,.,~-     °''"'' ,oc,,d c, """ a•O , It• •~ITT """m'"'"'" • ""'~" fo, , """"'" -, '"" S.-rn= ,,,.,,m,o,,
        ,l,o ""'"" S-• soo, =,eo ~ "'"""' le a, e. - , I= h»~n ~""• ,rn,, o,•,cs " ,=•a·,~ ""' oa ~"'"" oo Ta "~ """"" ,,,,
        , "' ••e mce" '""' v "ffi ' " " " " ·•TI"'"' o, ,~,.,a ""' "'"'""' "'" m "'~"' mm,rn.,,,~ o•              "'°" " '"'"' •'
                                                                                                                           ,o ,o """'"'~ o
        '""""' ""' f"'""' '" •mh ,~, I of , •• ,m '""o" "'" ''""" '"'"'"'       ""°'"
                                                                                   o,~,_,a.,, oo ,oc, "'''"-'"' " ' ,o~,.,- "•'"'' ~"''•"
        "'1~••• w"ti ms""'' '°"'!>'" c,•. "' oo '"' A~•.,,,, ""' "' o,~ ""' '"'"• o t,11 o, •o,,;.,. o< ,~ de o;ooo 'A', eh,11              ·,='""' '""'
(Page 6   of   8)
                        Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 14 of 56
                          TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE
                                                 STATEMENT
                                                                       (Continued)                                                             Page 6

     Account or suspend Advance privileges upon our receipt of the written Instruct1ons of all Borrowers as described above, add1t1onally, you agree
     and hereby authorize us that we may, but are not required to, terminate or suspend Advance privileges on your Account upon written request of
     anv one ot you We shall further terminate your Account upon the instructions of a settlement agent or other third party 1f and as required by
     applicable law, even 1f contrary to your written or other instructions, and you agree to hold us harmless and indemnify us 1n such event We
     shall not release, satisfy or discharge the Security Deed, or request that the property be reconveyed to the Grantor(s), unless and until all sums
     owing to us, 1nclud1ng any applicable and allowable charges for recording such release, sat1sfact1on, discharge or reconveyance l1nclud1ng
     Trustee fees), have been fully paid We may require a notarized writing before terminating or suspending the Account In the event any
     Borrower or other third party (such as a settlement agent) terminates, suspends or cancels the Account, whether completely or only as to future
     AClvances, you agree that you shall be Jointly and severally liable to us as governed by the other prov1s1ons of this Agreement in the event any
     Borrower obtains any Advance(sl before or aher anv suspension, cancellation or termInat1on by any party If you have suspended your account
     as to Advance pr1v1leges, we may require a writing of request to reinstate Advance privileges, signed by all Borrowers, and may require that
     wr1t1ng to be notarized
     Wr, may at our option allow you to continue to make regular monthly payments or to restructure the amount owed in a mutually agreeable
     m,mner, or may require you to pay the entire unpaid balance 1n full
     Prepayment You may prepay all or any amount owing under this Credit Line at any time without penalty, except we will be entitled to receive
     all accrued FINANCE CHARGES, and other charges, 1f any Payments in excess of your Minimum Payment will not relieve you of your obl1gat1on
     to continue to make your M1n1mum Payments 1n the future Instead, they will be applied to any Option andtor Advance balance at Lender's sole
     d1%cret1on You agree not to send us payments marked "paid 1n full," "without recourse," or s1m1lar language If you send such a payment, we
     m<1y accept 1t without losing any of our rights under this Agreement, and you will remain obligated to pay any further amount owed to us All
     Wtltten commumcat1ons concermng disputed amounts, including any check or other payment instrument that indicates that the payment
     constitutes "payment in full" of the amount owed or that 1s tendered with other cond1t1ons or hm1tat1ons or as full sat1sfact1on of a disputed
     amount must be mailed or delivered to Tru1st Bank, P O Box 305053, Nashville, TN 37230-5053
     N<1t1ces All notices will be sent to your address as shown 1n this Agreement Notices will be mailed to you at a different address 1f you give us
     wtmen notice of a different address If Borrowers have more than one address of record with Lender at any given time, nonces and Periodic
     Statements will be provided to only one address, and such shall constitute notice and delivery to all Borrowers You agree to advise us promptly
     of any change In your ma1lmg address, any change m financial cond1tmn, or of any unauthorized use of the Account As a material obl1gat1on
     under this Agreement, you will update the 1nformat1on and furnish us with add1t1onal financial or other mformat1on as we may request You wrll
     1mmed1ately telephone us and confirm by letter 1f any Tru1st Equity Line Checks are lost or stolen, and upon failure to do so. you will assume full
     respons1b1l1ty 1f we should pay such Tn.J1st Equity Line Checks or other Advance At the time of this Agreement, Lender's telephone number for
     reporting lost or stolen checks ,s (888) 461-8862 We shall not be responsible to you m any manner 1f anyone refuses to accept a Trwst Equ,ty
     L111e Check as a manner of payment
     Armual Review You agree that you will provide us with a current financial statement, a new credit application, or both, annually, on forms
     provided by us Based upon this information we may conduct an annual review of your Credit Line Account You also agree we may obtain
     credit reports on you at any time, at our sole option and expense, for any reason, including but not hm1ted to determ1rnng whether there has
     been an adverse change In your financial cond1t1on, or to monitor or review the Account We may require a new appraisal of the Property which
     secures your Credit Line at any time, including an internal 1nspectIon, at our sole option and expense You authorize us to release information
     about you to third parties as described 1n our privacy policy and our Fair Credit Reporting Act notice, provided you did not opt out of the
     applicable policy. or as permitted by law
     Transfer or Assignment Without prior notice or approval from you, we reserve the right to seJI or transfer your Credit Lme Account and our
     rl(Jhts and obl1gat1ons under this Agreement to another lender, entity, or person, and to assign our rights under the Security Deed Your rights
     ur1der this Agreement belong to you only and may not be transferred or assigned Your obhgat1ons, however, are binding on your heirs and legal
     representatives Upon any such sale or transfer, we wtll have no further obligation to provide you with credit Advances or to perform any other
     obligation under this Agreement
     Tax Consequences You understand that neither we, nor any of our employees or agents, make any representation or warranty whatsoever
     C()ncernmg the tax consequences of your establ1sh1ng and using your Credit Line, mcludmg the deduct1b1hty of interest, and that neither we nor
     Ol.lr employees or agents will be liable in the event interest on your Credit Line 1s not deductible You should consult your own tax advisor for
     gtJ1dance on this subJeCt
     JURY TRIAL WAIVER TO THE EXTENT PERMITTED BY APPLICABLE LAW, FOR ANY MATTERS NOT SUBMITTED TO ARBITRATION, YOU
     AND WE HEREBY KNOWINGLY, VOLUNTARILY, INTENTIONALLY AND IRREVOCABLY WAIVE THE RIGHT TO A TRIAL BY JURY IN RESPECT
     TO ANY LITIGATION ARISING OUT OF THIS AGREEMENT, NOTE OR SECURITY INSTRUMENT, RELATING TO THE CREDIT, OR ANY OTHER
     DISPUTE OR CONTROVERSY BETWEEN YOU AND US OR ANY OF OUR EMPLOYEES, OFFICERS, DIRECTORS, PARENTS, CONTROLLING
     PERSONS, SUBSIDIARIES, AFFILIATES, SUCCESSORS AND ASSIGNS
     CLASS ACTION WAIVER TO THE EXTENT PERMITTED BY APPLICABLE LAW, FOR ANY MATTERS NOT SUBMITTED TO ARBITRATION, YOU
     AND WE HEREBY AGREE THAT ANY LITIGATION ARISING OUT OF THIS AGREEMENT, NOTE OR SECURITY INSTRUMENT, RELATING TO THE
     CREDIT, OR ANY OTHER DISPUTE OR CONTROVERSY BETWEEN YOU AND US OR ANY OF OUR EMPLOYEES, OFFICERS, DIRECTORS,
     PARENTS, CONTROLLING PERSONS, SUBSIDIARIES, AFFILIATES, SUCCESSORS AND ASSIGNS WILL PROCEED ON AN INDIVIDUAL BASIS
     AND WILL NOT PROCEED AS PART OF A CLASS ACTION AND YOU AND WE HEREBY KNOWINGLY, VOLUNTARILY, INTENTIONALLY AND
     IRREVOCABLY WAIVE ANY RIGHT TO PROCEED IN A CLASS ACTION OR TO SERVE AS A CLASS REPRESENTATIVE
     INFORMATION REPORTED TO CREDIT BUREAUS UNDER THE FAIR CREDIT REPORTING ACT, YOU HAVE THE RIGHT TO NOTIFY US IF YOU
     BELIEVE WE HAVE REPORTED INACCURATE INFORMATION ABOUT YOUR ACCOUNT TO A CREDIT BUREAU OR CONSUMER REPORTING
     AGENCY SUCH NOTICES SHOULD BE SENT IN WRITING AND INCLUDE YOUR COMPLETE NAME, CURRENT ADDRESS, SOCIAL SECURITY
     NUMBER, TELEPHONE NUMBER, ACCOUNT NUMBER, TYPE OF ACCOUNT, SPECIFIC ITEM OF DISPUTE AND THE REASON WHY YOU
     BELIEVE THE INFORMATION REPORTED IS IN ERROR   SEND YOUR NOTICE TO TRUIST BANK PO BOX 85052, RICHMOND, VA
     23285-5052
     Attorney in Fact Proh1b1t1on Each Borrower acknowledges, understands and agrees that, unless required by applicable law, no representative or
     agent of Borrower, including but not hm1ted to any agent or attorney-in-fact under power of attorney, shall obtain, or attempt to obtain,
     advances under this line of credit Should such event occur, however, Borrower agrees to hold harmless and indemnify Lender from and against
     any and all claims, demands, hab1ltt1es, losses, costs or expense, of whatever kind or nature, arising therefrom or 1n connection therewith
     Governing Law This Agreement will be governed by federal law applicable to us and. to the extent not preempted by federal law. the laws of
     tl-ie State of Georgia without regard to its conflicts of law prov1s1ons This Agreement has been accepted by us m the State of Georgia
     Caption Headings Caption headings m this Agreement are for convenience purposes only and are not to be used to interpret or defme the
     provisions of this Agreement
     Interpretation You agree that this Agreement, together with the Security Instrument and related documents, 1s the most reliable of your
     agreements with us If we go to court for any reason, we can use a copy, filmed or electronic, of any Periodic Statement, this Agreement, the
     Secunty Instrument or any other document to prove the nature of our agreements, what you owe us or that a transaction has taken place The
     copy, microfilm, microfiche, or optical image will have the same vahd1ty as the ong111al You agree that, except to the extent you can show
     there 1s a billing error, your most current Periodic Statement 1s the most reliable evidence of your obl1gat1on to pay
     Severab1hty If a court fmds that any prov1s1on of this Agreement 1s not valid or should not be enforced, that fact by itself will not mean that the
     r~st of this Agreement will not be valid or enforced Therefore, a court will enforce the rest of the prov1s1ons of this Agreement even 1f a
     prov1s1on of this Agreement may be found to be mvahd or unenforceable
     Acknowledgment You understand and agree to the terms and cond1t1ons m this Agreement By s1gnmg this Agreement, you acknowledge that
     You have read and understand this Agreement You also acknowledge receipt of a completed copy of this Agreement, including the Fair Credit
     81ll1ng Notice and the early home equity line of credit appl1cat1on disclosure, 1n addition to the handbook entttled "What you should know about
     Home Eqwty Lmes of Credit" given at the time of apphcat1on
(Page 7   of   8)
                          Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 15 of 56
                            TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE
                                                    STATEMENT
                                                                                (Continued)                  Page 7




      This Agreement 1s dated October 28, 2021
      THIS AGREEMENT IS GIVEN UNDER SEAL AND IT rs INTENDED THAT THIS AGREEMENT IS AND SHALL CONSTITUTE AND HAVE THE
      EFFECT OF A SEALED INSTRUMENT ACCORDING TO LAW

      BORROWER



      X_~-=-,'~:c.,T=H-Y-L~K~=N~G--------«_-_-:_-:_-:_-~___,.,...'-.__~ISeall
(Page 8   of    8)
                          Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 16 of 56
                             TRUIST EQUITY LINE ACCOUNT AGREEMENT AND DISCLOSURE
                                                   STATEMENT
                                                                         (Continued)                                                            Page 8


                                                           BILLING ERROR RIGHTS
                                                                  YOUR BILLING RIGHTS
                                                         KEEP THIS NOTICE FOR FUTURE USE
     l"h1s notice contains important mformat1on about your rights and our respons1b1l1t1es under the Fair Credit B11hng Act

     Notify us in case of errors or questions about your b,11.
      If you think your bill 1s wrong. or 1t you need more 1nforrnat1on about a transaction on your bill, write us on a separate sheet at
                  Tru1st Bank
                  Credit Line
                  P O Box 305053
                  Nashville. TN 37230-5053
     CJr at the address listed on your bill Write to us as soon as possible We must hear from you no later than sixty (601 days after we sent you the
     hrst bill on which the error or problem appeared You can telephone us, but domg so will not preserve your rights

     In your letter, give us the following information
               Your name and account number
               The doHar amount of the suspected error
                Describe the error and explain, 1f you can, why you believe there 1s an error     If you need more information, describe the item you are
                not sure about

     If you have authorized us to pay your bill automatically from your savings or checking account, you can stop the payment on any amount you
     think 1s wrong To stop the payment, your letter must reach us three (3) business days before the automatic payment 1s scheduled to occur

     Your rights and our respons1b1ht1es after we receive your written notice.
     We must acknowledge your letter w1th1n thirty (30l days, unless we have corrected the error by then          W1th1n ninety {901 days, we must either
     correct the error or explain why we believe the bill was correct

     After we receive your letter, we cannot try to collect any amount you question, or report you as dehnquent We can continue to bill you for the
     amount you question, mcludmg finance charges, and we can apply any unpaid amount against your Credit L1m1t You do not have to pay any
     questioned amount while we are 1nvest1gat1ng, but you are still obligated to pay the parts of your bill that are not in question

      If we find that we made a mistake on your bill, you will not have to pay any finance charges related to any questioned amount If we didn't
      make a mistake, you may have to pay finance charges, and you will have to make up any missed payments on the questioned amount In either
      case, we will send you a statement of the amount you owe and the date on which 1t 1s due

     If you fail to pay the amount that we think you owe, we may report you as dehnquent However, 1f our explanation does not satisfy you and
     you write to us within ten I 10) days telling us that you still refuse to pay, we must tell anyone we report you to that you have a question about
     your bill And, we must telf you the name of anyone we reported you to We must tell anyone we report you to that the matter has been
     settled between us when 1t finally 1s

      If we don't follow these rules, we can't collect the first $50 of the questioned amount, even 1f your bill was correct
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 17 of 56




          Exhibit 2
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 18 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 19 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 20 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 21 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 22 of 56




          Exhibit 3
                          Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 23 of 56
1,1,~ SUNTRusr
Your Equity Line Statement                                                                                                                                              Page 1 of 5
January 31 , 2022 to February 21, 2022

Account number               REDACTED                 5125
TIMOTHY L KING

                                                                                                                                ···.·.·                                         ............................. .
                                                                                                      eiy:mi;l iliofitrn:lt.tPm:i:::::!}!!::!tlt}l:HllJ!!mrr1rtirf!1lilll:!Ulli
   P.~~Y.i9.~.?...!?..9..1.?~9~ .....................................$.4.?.,.4..1..?:.~8                 N.~.'!!...§9..1.9..~.~~················· .. ················· ..···········$4.~.,.9.4.~:.95
   P.§Y.~.~~t~............................................................::$J.,.E3-9..9.:.00            M.i.~J.rn.~.t!l ..P..?Y.f!l.E?.r.!~..P.~.~.....................................$.Q.'.90
                                                                                                         Payment Due Date                                                 02/25/2022
   Other Credits                                                               .$._~ . 91
                                                                                                      Our records indicate that you have paid $228.01
   Fixed Rate Advances                                     ..$.§,.000:.oo                             in interest for calendar year 2021.

   Y.9..n9..~.1~...~.!=lt~..A9.Yc:iQg~~···········........................~.9..9o                     QUESTIONS?

   F~~.?C.h.a..r.9~9..... ..................                       . $J§ .00                         'Ir Call Customer Service 888.461.8862
   Total Interest Charged                                                  $205.66                    :11:o    suntrust.com
                                                                                                      ~U':'

   Your New Balance                                                 $49,049.05                        Please send billing inquiries and oorrespondence to:
   This balance is not your pay-off amount.                                                           P.O. Box 305053, Nashville, TN 37230-5053

   Q.u..t~ta.r1c:l.i.n.g..Pr.ir:i9.ip~1...13-<3.!.a.r1.G.~........$4.?,.f3.~.~A8
   gr_~g.iJ ..~.i.~!.t.....................................................$..~.91.99.9.-.90
   Available Credit .................                                       ..$J,J6§.52
   §tc:1t~.n.:113.r:1t9.lq!:.J.11.g Q.~.~.~                         .. 9.~(~1 /2022
   Number Of Days In Billing Cycle                                                        22


   This is not a t>ill.
   It is for informational purposes only and reflects your last balance on our SunTrust systems before moving over to our new Trust
   systems. You will receive your first Truist statement in the coming days.




► Please tear off and return tl'is slip with your payment.                                                        Variable Rate Option Minimum Amount Due                      $                                   0.00
                                                                    ►   Your minimum payment must be              Fixed Rate/Fixed Term Minimum Amount Due                                                         0.00
Account numberl REDACTED 5125                                           made before additional amounts
                                                                                                                  Your total oavment due                                       $                                  0.00
                                                                               will be applied to principal.
Your new balance$49,049.05
Minimum payment duE$0.00                                                                                          Additional Principal to Va riable Rate                       $

Date your payment is due: Feb 25, 2022
                                                                                                                  Additional Principal to Fixed Rate/Term : ID

                                                                    ►Only use this ares if you're paying          Additional Principal to Other : ID _ _
                                                                      more than your minimum payment
                                                                       due and give us the details here.          Total amount vou're oavina                                   $

 □
             Moving? Check here and fill                                                                          Payments are c,edited to your accoont per your agreement. Your available credit will not reflect
             in the details on the back.                                                                          the payment for 7 business days to allow for the oollection of funds.




                                                                                                                     TIMOTHY L KING
SUNTRUST BANK                                                                                                        1006 PALMER RD
P.O. BOX 791274                                                                                                      LITHONIA, GA 30058-9085
BALTIMORE MD 21279-1274
            Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 24 of 56                                                                                                                                                                     Page 2 of 5
Transactions
Transaction Posting

Date                      Date                          Reference Number                                   Description                                                                                                                                 Amount($)

Variable Rate Option
Jan 31      Jan 31                                                                                         STARTING BALANCE                                                                                                                                        0.00

                                                                                                           Fees
                                                                                                                    Total Fees for this period                                                                                                                     0.00
                                                                                                           Interest Charged
                                                                                                                    Total Interest for this period                                                                                                                 0.00
Feb 21                    Feb 21                                                                           ENDING BALANCE                                                                                                                                          0.00
                                                                                                           Minimum Payment Due: $0.00

Fixed Rate/Fixed Term Option
10#001 - from Nov 02, 2021 to Nov 25, 2031
Jan 31       Jan 31                                                                                        STARTING BALANCE                                                                                                                            40,342.56
Jan 31       Jan 31                                                                                        INTEREST CHARGE ADJUSTMENT                                                                                                                       7.91
Feb 03       Feb 03                                                                                        PAYMENT
                                                                                                                    INTEREST                                                                                                                                 -502.83
                                                                                                                    PRINCIPAL                                                                                                                                -896.39

                                                                                                           Fees
                                                                                                                    Total Fees for this period                                                                                                                     0.00
                                                                                                           Interest Charged
Feb 21                    Feb 21                                                                              INTEREST CHARGE                                                                                                                                         166,57
                                                                                                                       Total Interest for this period                                                                                                                 166.57
.....................................................................................................................................................................................................................................................................
Feb 21                     Feb 21                                                                             ENDING BALANCE                                                                                                                                   39,117.82
                                                                                                              Minimum Payment Due: $0.00

Fixed Rate/Fixed Term Option
ID#002 - from Dec 02, 2021 to Dec 25, 2026
Jan 31       Jan 31                                                                                        STARTING BALANCE                                                                                                                               5,075.92
Jan 31       Jan 31                                                                                        INTEREST CHARGE ADJUSTMENT                                                                                                                         0.99
Feb 03       Feb 03                                                                                        PAYMENT
                                                                                                                    INTEREST                                                                                                                                  -60.92
                                                                                                                    PRINCIPAL                                                                                                                                -139.86

                                                                                                           Fees




  Ways to pay                                                             Moving? Please give us your new contact information:
   • at suntrust.com                                                      Name (first, initial, last)
   • by mail - tear off and return
    this slip with your check made
    payable to SunTrust Bank to
    the following address:
                                                                          Address (number, street name)                                                                                                                   I Apartment

    SunTrust Bank
    P.O. Box 791274
    Baltimore MD 21279-1274
                                                                          City                                                                                       IState                  IZIP code
                                                                          Home telephone                                                        IBusiness telephone                                                       I  Extension


                                                                          E-mail
                                    Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 25 of 56
1,1,~ SUNTRusr
Your Equity Line Statement                                                                                                                                                                                                         Page 3 of 5
January 31, 2022 to February 21, 2022
Account number REDACTED 5125

Transactions
Transaction Posting

Date                      Date                           Reference Number                                      Description                                                                                                                                        Amount($)

                                                                                                                       Total Fees for this period                                                                                                                        0.00

                                                                                                               Interest Charged
Feb 21                     Feb 21                                                                              INTEREST CHARGE                                                                                                                                          20.81
                                                                                                                   Total Interest for this period                                                                                                                       20.81
.....................................................................................................................................................................................................................................................................
Feb 21                     Feb 21                                                                              ENDING BALANCE                                                                                                                                      4,896.94
                                                                                                               Minimum Payment Due: $0.00

Fixed Rate/Fixed Term Option
1D#0D3 - from Feb D3, 2022 to Feb 25, 2D27
Jan 31                     Jan 31                                                                              STARTING BALANCE                                                                                                                                        0.00
Feb 03                     Feb 03                                                                              INTERNET ADVANCE-60 MONTHS                                                                                                                          5,000.00
Feb 03                     Feb 03                                                                              INTEREST CHARGE ADJUSTMENT                                                                                                                              1.01

                                                                                                               Fees
Feb 03                     Feb 03                                                                              FIXED TERM ADVANCE FEE                                                                                                                                   15.00
                                                                                                                   Total Fees for this period                                                                                                                           15.00
                                                                                                               Interest Charged
Feb 21                     Feb 21                                                                              INTEREST CHARGE                                                                                                                                          18.28
                                                                                                                   Total Interest for this period                                                                                                                       18.28
                                                                                                                ••••• •••••••••• •••••••• •••••••• •• ••• •••••••••••• •••••• ••••••• ••• ··············•·· ············· •--···············•··•············"•·
Feb 21                     Feb 21                                                                              ENDING BALANCE                                                                                                                                      5,034.29
                                                                                                               Minimum Payment Due: $0.00




                                                                                                 ....      .                                    -· .. ········-··········..................·-··········· .......
                                                                        ••• rn••·· r•• •••... ::::: .. :1 1tqig!1(9~i~itij:irltt§f:R~t~ii i i i itn:n:m::.ii• • •·
                                                                               Total Fees Charged                                                                                                                $15.00
                                                                               Total Interest Charged                                                                                                           $488.67
                      Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 26 of 56            Page 4 of 5


Interest Charge Calculation
Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                         Balance Subject to
Type of Balance                     Annual Percentage Rate(APR)               Interest Rate   Interest Charge

Variable Rate Option                                  9,710% (v)                      $0.00            $0,00

Fixed Rate/Fixed Term Option                          7.410 %                    $37,295.42          $166.57
10#001 -from Nov 02, 2021 to Nov 25, 2031

Fixed Rate/Fixed Term Option                          7.390 %                     $4,672.61           $20.81
10#002 - from Dec 02, 2021 to Dec 25, 2026

Fixed Rate/Fixed Term Option                          7.390 %                     $4,103.18           $18.28
ID#003 - from Feb 03, 2022 to Feb 25, 2027

(v) = Variable rate
                        Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 27 of 56


Your Equity Line Statement                                                                                                                         Page 5 of 5
January 31, 2022 to February 21, 2022
Account number:    REDACTED i125
Important Information
For your payment to be credited to your account on the same business day         If you fail to pay the amount that we think you owe, we may report you as
that it is received, the coupon portion on the billing statement and your        delinquent, However, if our explanation does not satisfy you and you write
payment must be mailed to the remittance address shown on the coupon             to us within ten days telling us that you still refuse to pay, we must tell
and received by SunTrust Bank by 5:00 PM. Payment must be In the form            anyone we report you to that you have a question about your bill, and we
of a check or money order drawn in U. S. currency for the correct amount.        must tell them when the matter has been settled or resolved between us.
Payments received at any other location in any other form may be subject         We must also tell you the name of anyone we report you to. If we do not
to a delay in crediting of up to five (5) days after the date of receipt.        follow these rules, we cannot collect the first $50 of the questioned
                                                                                 amount, even if your bill was correct,
How We Calculate Interest
We figure the interest charge on your account by applying the daily              Federal Disclosures
periodic rate to the Average Daily Balance of your account. To get the           The Servicemembers Civil Relief Act (SCRA) provides important financial
Average Daily Balance we take the beginning balance of your account each         and legal protections to service members • including caps on interest
day, add any new purchases/advances/fees, and subtract any unpaid                rates, stays of certain legal proceedings, protection from eviction, and
interest and any payments or credits, This gives us the daily balance, Then,     termination of leases without repercussions, Learn more at
we add up all the daily balances for the billing cycle and divide the total by   www.militaryonesource.mil (search for 'SCRA'),
the number of days In the billing cycle. This gives us the Average Daily
Balance.                                                                         SunTrust is a member of the HOPE NOW Alliance. HOPE NOW is an
                                                                                 alliance between counselors, servicers, investors and other mortgage
Overdraft Protection                                                             market participants with a mission to prevent foreclosures through
If you have been provided with an overdraft protection agreement, then by        outreach to borrowers at risk. To obtain more information about HOPE
payment of the annual fee and/or use of this overdraft protection, you           NOW, please contact the Homeowner's HOPE hotline at 888,995.HOPE
agree to abide by all of its terms and conditions, including but not limited     (4673) and www.995HOPE.org or www.HOPENOW.com. The HOPE NOW
to its repayment terms.                                                          Alliance provides free independent, HUD-approved counseling to
                                                                                 homeowners in financial trouble. Or you can contact the US Department of
YOUR BILLING RIGHTS                                                              Housing and Urban Development (HUD) at 800.569.4287 or
                                                                                 www.hud.gov/foreclosure for information about HUl>approved counseling
KEEP THI S NOTICE FOR FUTURE USE                                                 agencies that may assist you.


This notice contains important information about your rights and our             This communication Is an attempt to collect a debt and any Information you
responsibilities under the Fair Credit Billing Act.                              provide, whether written or verbal, will be used for that purpose. However,
                                                                                 if your debt is discharged in bankruptcy or you are protected by the
Notlfy Us In Case of Errors or Questions About Your BIii                         automatic stay in a bankruptcy proceeding , SunTrust recognizes that you
If you think there is an error, have questions, or need additional information   may not be lable for this debt and this letter is not an attempt to collect a
about a transaction on your statement, please call us at 888 .461 .8862 or       debt but is being sent for notice purposes only.
write to us at:
                                                                                 If you are current on your loan account, the notice above is not intended to
SunTrust Bank                                                                    imply otherwise.
P.O. Box 305053
Nashville, TN 3723().5053                                                        The Federal Equal Credit Opportunity Act prohibits creditors from
                                                                                 discriminating against credit applicants on the basis of race, color, religion,
We must receive your written request within 60 days of the date the first        national origin, sex, marital status, age (provided the applicant has the
bill was sent where an error or problem occurs to preserve your billing          capacity to enter into a binding contract); because all or part of the
rights.                                                                          applicant's income derives from any public assistance program; or
                                                                                 because the applicant has in good faith exercised any right under the
In your letter, give us the following information:                               Consumer Credit Protection Act. The federal agency that administers
                                                                                 compliance with this law concerning this creditor Is the Bureau of
• Your name and account number.
                                                                                 Consumer Financial Protection, 1700 G Street NW., Washington DC
• The dollar amount of the suspected error.
• Describe the error and explain , if you can, why you believe there is an       20006.
error. If you need more information, describe the item you are not sure
about.                                                                        We may report information about your account to credit bureaus. Late
                                                                              payments, missed payments, or other defautts on your account may be
If you have authorized us to pay your bill automatically from your savings or reflected in your credit report,
checking account, you can stop the payment on any amount you think is
wrong. To stop the payment your letter must reach us three business days Under the Fair Credit Reporting Act, you have the right to notify us if you
before the automatic payment is scheduled to occur.                           believe we have reported inaccurate information about your account to a
                                                                              credit bureau or consumer reporting agency. Such notices should be sent
                                                                              in writing and include your complete name, current address, social security
Your Rights and Our Responsibilities After We Receive
                                                                              number, telephone number, account number, type of account, specific item
Your Written Notice                                                           of dispute and the reason why you believe the information reported is in
We must acknowledge your letter within 30 days, unless we have corrected error. Send your notice to:SunTrust Bank,P.O. Box 85526, CS
the error by then . Within 90 days, we must either correct the error or
                                                                              RVW- 7955,Richmond, VA 23285-5526
explain why we believe the bill was correct.
                                                                                 CALIFORNIA AND UTAH RESIDENTS: As required by law, you are hereby
After we receive your letter, we cannot try to collect any amount you
                                                                                 notified that a negative credit report reflecting on your credit record may
question, or report you as delinquent. We can continue to bill you for the
                                                                                 be submitted to a credit reporting agency if you fail to fulfill the terms of
amount you question, including finance charges, and we can apply any             your credit obligations.
unpaid amount against your credit limit, You do not have to pay any
questioned amount while we are investigating, but you are still obligated to
                                                                                 ,~ 2022 SunTrust Banks, Inc. SunTrust, and Access 3 are federally
pay the parts of your bill that are not in question.
                                                                                 registered service marks of SunTrust Banks, Inc. All other trademarks are
                                                                                  the property of their respective owners. SunTrust Bank is an Equal Housing
If SunTrust made an error on your bill, you will not have to pay any finance
                                                                                  Lender.
charges related to any amount in question. If SunTrust does not find an
error, you will be required to pay all unpaid portions of the amount in
question including any unpaid finance charges. In both cases, you will
receive a statement showing the amount you owe and the date due.
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 28 of 56




          Exhibit 4
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 29 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 30 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 31 of 56




          Exhibit 5
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 32 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 33 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 34 of 56




          Exhibit 6
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 35 of 56
(Page 2   of   3)
                    Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 36 of 56
(Page 3   of   3)
                    Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 37 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 38 of 56




          Exhibit 7
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 39 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 40 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 41 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 42 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 43 of 56




       Exhibit 8
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 44 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 45 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 46 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 47 of 56




          Exhibit 9
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 48 of 56
(Page 2   of   3)
                    Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 49 of 56
(Page 3   of   3)
                    Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 50 of 56
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 51 of 56




          Exhibit 10
 Return this dispute response to:
Experian                        Case 1:23-cv-00095-JCF Document 23-3 Filed Date Received: 06-24-2022
                                                                           10/16/23          Page 52 of 56
601 Experian Pkwy,Allen,TX,75013                                           Control # :                                                       3296220637004


 FAX # :                                                                                                                      FCRA Response Due Date: 07-17-2022
 Account Number: REDACTED 5998                                                                                                  Response Date:
 Subscriber Code: Truist Consumer/1199117                                                                                       Response Code: 22:Updated disputed account information Additional
                                                                                                                                                account information was also updated
 On the lines below, S indicates the Response element is the Same as in the Request; D indicates it is Different, and U indicates it is Unknown
 Request Data                                                                                 Verif Ind      Response Data
 First Name:             TIMOTHY                                                                             First Name:

 Middle Name:            LEE                                                                              Middle Name:

 Last Name:              KING                                                                             Last Name:


 Generation Code:                                                                                         Generation Code:

 Address:                1858 W 109TH ST,LOS ANGELES,CA,90047                                             Address:



 Prev First Name:                                                                                         Prev First Name:

 Prev Middle Name:                                                                                        Prev Middle Name:


 Prev Last Name:                                                                                          Prev Last Name:




                                                                                                T
 Prev Generation Code:                                                                                    Prev Generation Code:


 Prev Address:                                                                                            Prev Address:



 SSN:
 DOB:
 Telephone Number:
 2nd Prev Address:
                         AF
                         REDACTED


                         REDACTE




                         -,-
 Consumer States/Comments:
 Dispute Code 1:
                                    0966
                                   1965
                                                                                                          SSN:
                                                                                                          DOB:
                                                                                                          Telephone Number:



                     106:Disputes present/previous Account Status/Payment Rating/Account History Verify Account Status, Payment Rating and Account History

 Dispute Code 2:

 FCRA Relevant
                                    FILED A FORMAL COMPLAINT WITH TRUIST AND I RETAINED AN ATTORNEY TRUST WAS NOT DISPERSING MY PAYMENTS OVER MY
 Information:
                                    DRAWS $1 600 PAID IN FEB $930 PAID IN APRIL AND $500 IN MAY THEY RECEIVED ADEQUATE PAYMENTS|/CURR ACCT |||||||||||||||||||||||
                        R
 Account      Pay                                                                                                    Amount Past                                              Original Charge-Off
                         MOP         Cond /Cumm Status                    Date Opened          Balance                                  High Cr /Org           Credit Limit
 Status       Rate                                                                                                   Due                                                      Amount
78                                  OPEN/ DEL 60                          10-28-2021           $49136             $400                  $49869                 $50000
11                                                                        10-28-2021           $48620                $0                 $49869                 $50000
                                                            Date of
 Account      Interes    Port        Term                                                         Date of Last
                                               Freq         Account            Date Closed                                Sch Payment          ECOA                 CII       FCRA DOFD
 Type         t Type     Type        Dur                                                          Payment
                                                            Information
D

89                                   REV       M            05-31-2022                            04-28-2022              $676                   1

89         V             C           LOC       M           06-30-2022                            06-27-2022             $727
Compliance                                                                                     Original Cr           Spec               Deferred Start
                        SCC         Original Cr Name                                                                                                           Balloon Date   Balloon Amount
Condition Code                                                                                 Class                 Payment Ind        Date



                                                                                                                          Portfolio
 Agency ID       Sec Marketing Agency Account #          Mortgage ID                              Actual Payment                               Purchased from/Sold to
                                                                                                                          Indicator


                                                                                                  $2381
 Remarks: -
                                                                                                                                               DF Contact #:
Account History – Request
  Month            Dec        Case
                               Nov 1:23-cv-00095-JCF
                                       Oct    Sep    Document
                                                     Aug       23-3 Filed
                                                              Jul    Jun  10/16/23
                                                                             May   Page
                                                                                    Apr 53 Mar
                                                                                           of 56                                                                                Feb       Jan
   2022                                                                                                              -             -               1              0               0       0
   2021            0               E             E               -                -                   -              -             -               -              -                  -     -
   2020            -               -              -              -                -                   -              -             -               -              -                  -     -
   2019            -               -              -              -                -                   -              -             -               -              -                  -     -
   2018             -              -              -              -                -                   -              -             -               -              -               -        -
   2017            -               -              -              -                -                   -              -              -              -              -               -        -
   2016            -               -              -              -                -                   -              -              -              -              -               -        -
  2015            -                -              -              -                -                   -
Account History – Response
  Month           Dec            Nov             Oct            Sep               Aug               Jul            Jun            May            Apr            Mar             Feb       Jan

   2022                                                                                                             -               2              1              0              0         0
   2021             0              E             B               -                -                   -             -               -              -              -              -         -
   2020             -              -              -              -                -                   -             -               -              -              -              -         -
   2019             -              -              -              -                -                   -             -               -              -              -              -         -
   2018             -              -              -              -                -                   -             -               -              -              -              -         -
   2017             -              -              -              -                -                   -             -               -              -              -              -         -
   2016             -              -              -              -                -                   -             -               -              -              -              -         -
   2015             -              -              -              -                -                   -



Associated Consumer 1                                                                              Associated Consumer 2
Name:                                                                                              Name:




                                                                                                 T
Address:                                                                                           Address:



SSN:                                           DOB:                                                SSN:                                            DOB:
Telephone Number:                                                                                  Telephone Number:

Images Information
Associated Images:

Submitted By: REDACTED
                         AF
ECOA/Consumer Information Indicator: /

                           No                          Image Access Indicators:       #1
                                                                                                   ECOA/Consumer Information Indicator: /

                                                                                                           #2

                                                                                                      Tel#: REDACTED
                                                                                                                                  #3                      #4

                                                                                                                                                        Date: 07-14-2022
                                                                                                                                                                                     #5




By submitting this ACDV, you certify that you have reviewed and considered all associated Images, you have verified the accuracy of the data in compliance with all legal requirements,
and your computer and/or manual records will be adjusted to reflect any changes noted
                        R
D
Case 1:23-cv-00095-JCF Document 23-3 Filed 10/16/23 Page 54 of 56




          Exhibit 11
 Return this dispute response to:
TransUnion LLC                  Case 1:23-cv-00095-JCF Document 23-3 Filed Date Received: 07-15-2022
                                                                           10/16/23          Page 55 of 56
2 Baldwin Place,Crum Lynne,PA,19022                                        Control # :                                                        411503774026001


FAX # :                                                                                                                       FCRA Response Due Date: 08-10-2022
Account Number: REDACTED 5998                                                                                                  Response Date:
Subscriber Code: Truist Consumer/295S036                                                                                       Response Code: 22:Updated disputed account information. Additional
                                                                                                                                                account information was also updated.
On the lines below, S indicates the Response element is the Same as in the Request; D indicates it is Different, and U indicates it is Unknown.
Request Data                                                                                 Verif Ind      Response Data
First Name:             TIMOTHY                                                                             First Name:

Middle Name:             LEE                                                                              Middle Name:

Last Name:               KING                                                                             Last Name:


Generation Code:                                                                                          Generation Code:

Address:                 1858 W 109TH ST,LOS ANGELES,CA,90047-4603                                        Address:



Prev First Name:                                                                                          Prev First Name:

Prev Middle Name:                                                                                         Prev Middle Name:


Prev Last Name:                                                                                           Prev Last Name:




                                                          T
Prev Generation Code:                                                                                     Prev Generation Code:


Prev. Address:                                                                                            Prev. Address:



SSN:
DOB:
Telephone Number:
2nd Prev. Address:
                        REDACTED


                        REDACTED




Consumer States/Comments:
Dispute Code 1:
                                 -0966
                                -1965
                         (619) 726-3043
                                                       AF
                         1775 PARKER RD SE STE C210,CONYERS,GA,30094-6676
                                                                                                          SSN:
                                                                                                          DOB:
                                                                                                          Telephone Number:



                    106:Disputes present/previous Account Status/Payment Rating/Account History. Verify Account Status, Payment Rating and Account History.

Dispute Code 2:

FCRA Relevant
                                   consumer claims that she never had a late payment before
Information:
                         R
Account      Pay.                                                                                                    Amount Past                                               Original Charge-Off
                        MOP            Cond./Cumm. Status                    Date Opened        Balance                                  High Cr./Org.          Credit Limit
Status       Rate                                                                                                    Due                                                       Amount
11                                 -                                         10-28-2021         $48620            $0                     $49869                 $50000
11                                                                           10-28-2021         $48929               $0                  $49869                 $50000
                                                               Date of
Account      Interes    Port.          Term                                                       Date of Last
                                                 Freq.         Account            Date Closed                             Sch. Payment          ECOA                 CII       FCRA DOFD
Type         t Type     Type           Dur.                                                       Payment
                                                               Information
D

6D                      C           LOC         M              06-30-2022                         06-27-2022              $727                    1

89         V             C          LOC         M             07-31-2022                          06-27-2022            $727
Compliance                                                                                      Original Cr.         Spec.               Deferred Start
                       SCC         Original Cr. Name                                                                                                            Balloon Date   Balloon Amount
Condition Code                                                                                  Class                Payment Ind.        Date



                                                                                                                           Portfolio
Agency ID        Sec. Marketing Agency Account #            Mortgage ID                           Actual Payment                                Purchased from/Sold to
                                                                                                                           Indicator
                                                                                                  $2381
                                                                                                  $0
Remarks: -
                                                                                                                                                DF Contact #:
Account History – Request
  Month            Dec        Case
                               Nov 1:23-cv-00095-JCF
                                       Oct    Sep    Document
                                                     Aug       23-3 Filed
                                                              Jul    Jun  10/16/23
                                                                             May   Page
                                                                                    Apr 56 Mar
                                                                                           of 56                                                                                Feb       Jan
   2022                                                                                               -             D              2               1              0               0       0
   2021            0               0             E               B                -                   -              -             -               -              -                  -     -
   2020            -               -              -              -                -                   -              -             -               -              -                  -     -
   2019            -               -              -              -                -                   -              -             -               -              -                  -     -
   2018             -              -              -              -                -                   -              -             -               -              -               -        -
   2017            -               -              -              -                -                   -              -              -              -              -               -        -
   2016            -               -              -              -                -                   -              -              -              -              -               -        -
  2015            -                -              -              -                -
Account History – Response
  Month           Dec            Nov             Oct            Sep               Aug               Jul            Jun            May            Apr            Mar             Feb       Jan

   2022                                                                                               -             0               1              0              0              0         0
   2021             0              E             B               -                -                   -             -               -              -              -              -         -
   2020             -              -              -              -                -                   -             -               -              -              -              -         -
   2019             -              -              -              -                -                   -             -               -              -              -              -         -
   2018             -              -              -              -                -                   -             -               -              -              -              -         -
   2017             -              -              -              -                -                   -             -               -              -              -              -         -
   2016             -              -              -              -                -                   -             -               -              -              -              -         -
   2015             -              -              -              -                -



Associated Consumer 1                                                                              Associated Consumer 2
Name:                                                                                              Name:




                                                         T
Address:                                                                                           Address:



SSN:                                         I DOB:                                                SSN:                                         I DOB:
Telephone Number:                                                                                  Telephone Number:
ECOA/Consumer Information Indicator: /
Images Information
Associated Images:

Submitted By: REDACTED
                          I No
                                                      AF
                                                       I Image Access Indicators: I #1 I
                                                                                                   ECOA/Consumer Information Indicator: /

                                                                                                          I #2
                                                                                                      Tel#: REDACTED
                                                                                                                                I #3 I                 I #4
                                                                                                                                                        Date: 08-05-2022
                                                                                                                                                                                I #5 I



By submitting this ACDV, you certify that you have reviewed and considered all associated Images, you have verified the accuracy of the data in compliance with all legal requirements,
and your computer and/or manual records will be adjusted to reflect any changes noted.
                         R
D
